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        EXHIBIT B
                  Case 2:19-cv-01527-MRW Document 1-2 Filed 03/01/19 Page 2 of 192 Page ID #:70



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                           Attorneys for Defendants
                       6   EMI APRIL MUSIC INC. and
                           EMI BLACKWOOD MUSIC INC.
                       7

                       8

                       9

                      10                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
                      11                              FOR THE COUNTY OF LOS ANGELES
                      12

                      13   PLEASE GIMME MY PUBLISHING,              Case No. 19STCV02732
                           INC., a New York corporation; WEST
                      14   BRANDS, LLC, a Delaware limited          NOTICE TO STATE COURT AND TO
                           liability corporation; KANYE WEST, an    ADVERSE PARTIES OF REMOVAL
                      15   individual; and YE WORLD
                           PUBLISHING, INC., a Delaware             Complaint Filed: January 25, 2019
                      16   corporation, also doing business as YE
                           WORLD MUSIC,
                      17
                                        Plaintiffs,
                      18
                                 v.
                      19
                           EMI APRIL MUSIC INC., a Connecticut
                      20   corporation; EMI BLACKWOOD MUSIC
                           INC., a Connecticut corporation; and
                      21   DOES 1-10,
                      22                Defendants.
                      23

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  P HILLIPS , LLP
  ATTO RNEY S AT LAW
     LOS A NG EL ES
                                          NOTICE TO STATE COURT AND TO ADVERSE PARTY OF REMOVAL
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                       1          TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

                       2          PLEASE TAKE NOTICE that on March 1, 2019, Defendants EMI April Music Inc. and

                       3   EMI Blackwood Music Inc. (collectively, “Defendants”), under 28 U.S.C. §§ 1331, 1441, and

                       4   1446, filed a Notice of Removal of this action with the Clerk of the United States District Court

                       5   for the Central District of California, and, thus, removed this action to the United States District

                       6   Court for the Central District of California. Accordingly, all further proceedings in this action

                       7   shall be in said United States District Court.

                       8          A true and correct copy of the Notice of Removal and supporting papers as filed in the

                       9   United States District Court is attached hereto as Exhibit A.

                      10   Dated: March 1, 2019                    MANATT, PHELPS & PHILLIPS, LLP
                      11

                      12                                           By:
                                                                            Robert A. Jacobs
                      13                                                    Maura K. Gierl
                                                                            Molly K. Wyler
                      14                                                    Attorneys for Defendants
                                                                            EMI APRIL MUSIC INC. and
                      15                                                    EMI BLACKWOOD MUSIC INC.
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  P HILLIPS , LLP
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                                            NOTICE TO STATE COURT AND TO ADVERSE PARTY OF REMOVAL
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        EXHIBIT A
                  Case 2:19-cv-01527-MRW Document 1-2 Filed 03/01/19 Page 5 of 192 Page ID #:73



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                       8   EMI APRIL MUSIC INC. and
                           EMI BLACKWOOD MUSIC INC.
                       9
                      10                        UNITED STATES DISTRICT COURT
                      11                      CENTRAL DISTRICT OF CALIFORNIA
                      12
                      13   PLEASE GIMME MY PUBLISHING,              No. 2:19-cv-________________
                      14   INC., a New York corporation; WEST
                           BRANDS, LLC, a Delaware limited          NOTICE OF REMOVAL
                      15   liability corporation; KANYE WEST, an
                           individual; and YE WORLD
                      16   PUBLISHING, INC., a Delaware
                           corporation, also doing business as YE
                      17   WORLD MUSIC,
                      18
                                      Plaintiffs,
                      19
                                v.
                      20
                           EMI APRIL MUSIC INC., a Connecticut
                      21   corporation; EMI BLACKWOOD
                           MUSIC INC., a Connecticut corporation;
                      22   and DOES 1-10,
                      23
                                      Defendants.
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                       1         Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendants EMI April
                       2   Music Inc. (“EMI April”) and EMI Blackwood Music Inc. (“EMI Blackwood”)
                       3   (collectively, “Defendants”) give notice of the removal of the above-captioned
                       4   matter to the United States District Court for the Central District of California. As
                       5   grounds for removal, Defendants state as follows:
                       6   I.    NATURE OF REMOVED CASE
                       7         1.     On January 25, 2019, Plaintiffs Please Gimme My Publishing, Inc.
                       8   (“Please Gimme”); West Brands, LLC (“West Brands”); Kanye West (“West”); and
                       9   Ye World Publishing, Inc. (“Ye World”) (collectively, “Plaintiffs”) filed their
                      10   complaint (the “Complaint” or “Cplt.”) in the action captioned Please Gimme My
                      11   Publishing, Inc.; West Brands, LLC; Kanye West; and Ye World Publishing, Inc. v.
                      12   EMI April Music, Inc. and EMI Blackwood Music, Inc., in the Superior Court of
                      13   California, County of Los Angeles (the “Action”). The Action was assigned Case
                      14   Number 19STCV02732.1
                      15         2.     Defendants were served on February 1, 2019.
                      16         3.     In the Complaint, Plaintiffs allege that they or their predecessors
                      17   entered into an agreement with Defendants as of October 1, 2003 (the “2003
                      18   Agreement”) under which Defendants acquired a 50 percent share of the copyrights
                      19   in certain musical compositions written or co-written by West (the “Compositions”)
                      20   for a specified period of time. (Cplt. ¶ 22)2 Plaintiffs also granted Defendants the
                      21   right to administer and exploit the Compositions during that period for West’s and
                      22
                           1
                      23     On the same day, Plaintiffs filed a highly redacted, though seemingly almost
                           identical, complaint in the action captioned Please Gimme My Publishing, Inc.;
                      24   West Brands, LLC; Kanye West; and Ye World Publishing, Inc. v. EMI April Music,
                           Inc. and EMI Blackwood Music, Inc., in the Superior Court of California, County of
                      25   Los Angeles (the “Redacted Action”). The Redacted Action was assigned Case
                           Number 19STCV02598. The Redacted Action is the subject of a separate notice of
                      26   removal, which Defendants will file forthwith, along with a notice of related cases.
                           2
                             Although Plaintiffs did not attach a copy of the 2003 Agreement to the Complaint,
                      27   they incorporate it into the Complaint “in full”. (Cplt. ¶ 22) A true and correct
                           copy of relevant excerpts from the 2003 Agreement is attached as Exhibit A to the
                      28   Declaration of Robert A. Jacobs (“Jacobs Declaration” or “Jacobs Decl.”).
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                       1   Defendants’ mutual benefit. In exchange, Defendants paid West certain advances
                       2   and rendered accountings and payments to him for royalties derived from the
                       3   exploitation of the Compositions. (See Jacobs Decl. ¶ 2, Exh. A)
                       4         4.     The parties entered into multiple agreements modifying and extending
                       5   the 2003 Agreement (each a “Modification” and, collectively, the “Modifications”),
                       6   including in 2005, 2006, 2009, 2011, and 2014, each of which Plaintiffs reference
                       7   and incorporate in, but do not attach as exhibits to, the Complaint. (See Cplt. ¶¶ 36,
                       8   37, 47, 51, 58, 66) Plaintiffs, however, fail to mention in the Complaint itself that
                       9   the parties entered into additional modification agreements in 2004 and 2012, the
                      10   latter of which (among other things), as discussed in detail below, makes clear that
                      11   West and West Brands are the only proper plaintiffs in this case because West long
                      12   ago dissolved Ye World and Please Gimme, and merged them into West Brands,
                      13   making each of them a mere d/b/a or trade name of West Brands with no separate
                      14   legal existence, and, therefore, no capacity or standing to sue.3
                      15         5.     Notwithstanding the great success that West has enjoyed during his
                      16   relationship with Defendants, Plaintiffs now seek a declaration that (i) the 2003
                      17   Agreement and the Modifications are unenforceable, and have been for the last
                      18   eight and a half years; and (ii) Defendants’ bargained-for copyright ownership and
                      19   other rights in the Compositions should revert to West. (Cplt. ¶¶ 1, 71)
                      20         6.     Plaintiffs further allege that they are entitled to “restitution” based on
                      21   the fact that Defendants benefited “by taking assignments of Plaintiffs’ rights to the
                      22
                           3
                             Notwithstanding Plaintiffs’ decision not to reference the 2004 and 2012
                      23   Modifications, the Modifications are still incorporated into the Complaint because
                           each of the 2005, 2006, 2009, 2011, and 2014 Modifications – which Plaintiffs
                      24   expressly reference and incorporate into the Complaint – specifically refers to and
                           ratifies the 2004 Modification, as does the 2014 Modification with respect to the
                      25   2012 Modification. Thus, for example, the 2014 Modification referenced in
                           paragraphs 59-64, 66, and 71 of the Complaint states that the “2003 Agreement, as
                      26   modified by the 2004 Modification, 2005 Modification, 2006 Modification, 2009
                           Modification, 2011 Modification and 2012 Modification” comprise the “Basic
                      27   Agreement”, and that the “Basic Agreement is hereby ratified and confirmed and
                           shall remain in full force and effect.” (Jacobs Decl. ¶ 4, Exh. C at ¶¶ 1.02 & 11
                      28   (emphasis added))
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                       1   [C]ompositions” that West delivered to them on or after October 1, 2010 (seven
                       2   years after the 2003 Agreement), and by “receiving licensing and other revenues
                       3   from the exploitation” of Compositions delivered before and after October 1, 2010.
                       4   (Cplt. ¶ 75)
                       5         7.       Finally, Plaintiffs allege that Defendants have wrongfully withheld
                       6   from Plaintiffs Defendants’ bargained-for rights and interests in the Compositions,
                       7   and the portion of the monies generated by exploitation of the Compositions that
                       8   Defendants retained as co-owners of the copyrights in the Compositions. (Cplt. ¶
                       9   78) Specifically, Plaintiffs allege that Defendants are withholding “the ownership
                      10   interest Plaintiffs conveyed to [Defendants] in each musical composition delivered
                      11   to [them] on or after October 1, 2010”, and “the monies [Defendants] received . . .
                      12   from the exploitation of any musical composition Plaintiffs delivered to
                      13   [Defendants] both before and after October 1, 2010, less any monies [Defendants]
                      14   ha[ve] already paid to Plaintiffs”. (Id. ¶ 78)
                      15         8.       In addition to the above, in their Prayer for Relief, Plaintiffs
                      16   specifically seek “an Order conveying from [Defendants] to Plaintiffs all right, title,
                      17   and interest in each musical composition” that Plaintiffs delivered after October 1,
                      18   2010. (Cplt., Prayer for Relief ¶ D)
                      19         9.       Based on the above, Plaintiffs bring three causes of action:
                      20                     a. Declaratory Relief (Cplt. ¶¶ 65-72);
                      21                     b. Restitution/Unjust Enrichment (id. ¶¶ 73-76); and
                      22                     c. Constructive Trust (id. ¶¶ 77-79).
                      23         10.      This Court has federal diversity jurisdiction because complete
                      24   diversity exists between Plaintiffs, on the one hand, and the named Defendants, on
                      25   the other hand, and because the amount in controversy is over $75,000, exclusive of
                      26   interest and costs. This Court also has federal question jurisdiction because two of
                      27   the three claims arise under the United States Copyright Act, 17 U.S.C. § 101 et.
                      28   seq. (the “Copyright Act”).
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                       1   II.    THIS REMOVAL IS PROCEDURALLY PROPER
                       2          11.   This notice of removal is timely under 28 U.S.C. § 1446(b)(1) because
                       3   the date of filing is within 30 days of the date of service on all Defendants on
                       4   February 1, 2019.
                       5          12.   Removal to this venue is proper pursuant to 28 U.S.C. § 1441(a)
                       6   because the United State District Court for the Central District of California
                       7   includes Los Angeles, California, where the state court action is pending.
                       8   However, Defendants do not waive and reserve their right to have Plaintiffs’ claims
                       9   in this Action adjudicated by the federal or state courts in New York County, New
                      10   York, as mandated by the exclusive New York forum selection clause in the 2003
                      11   Agreement and Modifications. (Jacobs Decl. ¶ 2, Exh. A)
                      12          13.   All Defendants are parties to and consent to this removal.
                      13          14.   Pursuant to 28 U.S.C. § 1446(a), true and correct copies of all process,
                      14   pleadings, or orders filed in the state court action are attached hereto as Exhibit A.
                      15          15.   Pursuant to 28 U.S.C. Section 1446(d), written notice of the filing of
                      16   this Notice of Removal is being provided to all adverse parties, and a copy of this
                      17   Notice is being filed with the Clerk of the Superior Court of the State of California
                      18   in and for the County of Los Angeles. A true and correct copy of the written notice
                      19   required by 28 U.S.C. § 1446(d) is attached hereto as Exhibit B.
                      20   III.   GROUNDS FOR FEDERAL SUBJECT MATTER JURISDICTION
                      21          A.    This Court Has Diversity Jurisdiction.
                      22          16.   This Court is vested with diversity jurisdiction pursuant to 28 U.S.C. §
                      23   1332 because complete diversity of citizenship exists between Plaintiffs, on the one
                      24   hand, and the named Defendants, on the other hand, and because the amount in
                      25   controversy is greater than $75,000, exclusive of interest and costs. Diversity
                      26   jurisdiction is determined at the time of removal. See Jong v. Gen. Motors Corp.,
                      27   359 F. Supp. 223, 226 (N.D. Cal. 1973) (“whether diversity exists between the
                      28   plaintiffs and the defendants for removal purposes must be made on the record as it
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                       1   stands at the time the removal petition is filed”).
                       2         17.    To show citizenship for diversity purposes, a natural person must “(1)
                       3   be a citizen of the United States, and (2) be domiciled in the state.” Kantor v.
                       4   Wellesly Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir. 1983). A limited liability
                       5   company is considered a “citizen of every state of which its owners/
                       6   members are citizens”. Johnson v. Columbia Props. Anchorage, LP, 437 F.3d 894,
                       7   899 (9th Cir. 2006). A corporation is a “citizen” of both the state in which it was
                       8   incorporated and the state where it has its principal place of business. 28 U.S.C.
                       9   § 1332(c). See also Davis v. HSBC Bank Nevada, N.A., 557 F.3d 1026, 1028 (9th
                      10   Cir. 2009) (citing 28 U.S.C. §1332(c)(1)).
                      11         18.    Here, Plaintiffs allege in the Complaint that West is a resident of Los
                      12   Angeles County, California. (Cplt. ¶ 7) Accordingly, for purposes of diversity, he
                      13   is considered a citizen of California. See State Farm Mut. Auto. Ins. v. Dyer, 19
                      14   F.3d 514, 520 (9th Cir. 1994) (individual’s residence is prima facie evidence of
                      15   domicile).
                      16         19.    Plaintiffs further allege that West Brands is a Delaware limited
                      17   liability company, with its principal place of business in California. (Cplt. ¶ 8) As
                      18   set forth in the 2012 Modification, West is the sole member of West Brands.
                      19   (Jacobs Decl. ¶ 3, Exh. B ¶ 2.01(b)) Accordingly, West Brands also is considered a
                      20   citizen of California for diversity purposes. Johnson, 437 F.3d at 899.
                      21         20.    Finally, Plaintiffs allege that Ye World is a Delaware corporation with
                      22   its principal place of business in California, and that Please Gimme is a New York
                      23   corporation with its principal place of business in California. (Cplt. ¶¶ 9, 10)
                      24   However, records maintained by the Department of State of the State of Delaware
                      25   and the Department of State of the State of New York confirm that Ye World and
                      26   Please Gimme have been dissolved since at least May 19, 2004 and January 27,
                      27   2010, respectively. (Jacobs Decl. ¶¶ 5-6, Exhs. D-E) Indeed, West and West
                      28   Brands expressly acknowledge the dissolution of Ye World and Please Gimme in
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                       1   the 2012 Modification, and that each of Ye World and Please Gimme is merely a
                       2   d/b/a of West Brands, and expressly agree that they will “not reinstate either Ye
                       3   World or Please Gimme as an independent corporate entity.” (Jacobs Decl. ¶ 3,
                       4   Exh. B at ¶¶ 2.01(c), 2.03, 3.07) In addition, the 2012 Modification and the 2014
                       5   Modification make clear that each of Ye World and Please Gimme is included in
                       6   them solely as a d/b/a of West Brands. (Jacobs Decl. ¶ 3, Exh. B at 1; id. ¶ 4, Exh.
                       7   C at 1)
                       8         21.    Thus, Ye World and Please Gimme are not – and have not been for
                       9   years – independent legal entities that have capacity or standing to sue. See The
                      10   Capital Gold Grp., Inc. v. Nortier, 176 Cal. App. 4th 1119, 1127 (2009)
                      11   (corporation that lacks capacity to sue in its home state based on a lack of corporate
                      12   status also lacks capacity to sue in California); Moran Enters., Inc. v. Hurst, 888
                      13   N.Y.S.2d 109 (App. Div. 2009) (“A dissolved corporation . . . does not enjoy the
                      14   right to bring suit in the courts of this state” except in limited circumstances); In re
                      15   Dow Chemical Int’l, Inc., Case No. 3972-CC, 2008 WL 4603580, at *2 (Del. Ch.
                      16   Oct. 14, 2008) (dissolved Delaware corporation has no standing to sue to resolve
                      17   claims that were not pending three years after date of dissolution). Instead, each is
                      18   simply a d/b/a of West Brands that has no distinct legal existence separate from
                      19   West Brands. See Tr. of Constr. Indus. & Laborers Health & Welfare Tr. v. C & W
                      20   Enters., Inc., F. App’x 566, 567 (9th Cir. 2008) (“The designation ‘d/b/a’ is merely
                      21   descriptive of a corporation that does business under some other name and does not
                      22   create a distinct corporate entity”); PB Farradyne, Inc. v. Peterson, Case No. C 05-
                      23   3447, 2006 WL 132182, at *5 (N.D. Cal. Jan. 17, 2006) (a d/b/a “is not a separate
                      24   legal entity capable of . . . asserting any claims of infringement”); Cusano v.
                      25   Horipro Entm’t Grp., 301 F. Supp. 2d 272, 277 (S.D.N.Y. 2004) (“Use of a
                      26   fictitious business name [including the d/b/a designation] does not create a separate
                      27   legal entity” distinct from its owner) (citing Pinkerton’s, Inc. v. Superior Court, 49
                      28   Cal. App. 4th 1342, 1348 (1996)). Ye World and Please Gimme, therefore, are
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                       1   improper Plaintiffs and irrelevant to the determination of the citizenship of the
                       2   parties for these reasons alone.
                       3         22.    Ye World and Please Gimme also are improper plaintiffs and
                       4   irrelevant to the determination of the parties’ citizenship because West merged
                       5   them into West Brands. The 2012 Modification unambiguously states that Ye
                       6   World and Please Gimme transferred all of their “rights, title, interests and assets,
                       7   including, without limitation, all retained copyright interests in the Compositions . .
                       8   . under the [2003] Agreement” to West Brands, and that West Brands would
                       9   assume all “obligations” and “grant all rights” of Ye World and Please Gimme to
                      10   Defendants under the agreement. (Jacobs Decl. ¶ 3, Exh. B at ¶¶ 2.01(b), 2.02)
                      11   These provisions confirm that Ye World and Please Gimme were merged into West
                      12   Brands. See Hughes v. BCI Int’l Holdings, Inc., 452 F. Supp. 2d 290, 301
                      13   (S.D.N.Y. 2006) (acquisition of all assets of company sufficient to establish de
                      14   facto merger); Cargo Partner AG v. Albatrans, Inc., 352 F.3d 41, 44-45 (2d Cir.
                      15   2003) (recognizing de facto merger where there is, in substance, a consolidation or
                      16   merger of seller and purchaser). For these reasons, too, neither Ye World nor
                      17   Please Gimme has capacity or standing to sue, making West and West Brands the
                      18   only relevant plaintiffs to consider for purposes of evaluating diversity jurisdiction.
                      19   See Sentry Mktg., Inc. v. Unisource Worldwide, Inc., 42 F. Supp. 2d 188, 191
                      20   (N.D.N.Y. 1999) (prior citizenship of New York corporation ceased to be
                      21   determinative of diversity upon merger with Delaware corporation); accord
                      22   Meadows v. Bicrodyne Corp., 785 F.2d 670, 672 (9th Cir. 1986) (prior citizenship
                      23   of California corporation ceased to be determinative of diversity upon merger with
                      24   Delaware corporation); accord Westside Fed. Sav. & Loan Ass’n of N.Y.C. v.
                      25   Fitzgerald, 524 N.Y.S.2d 54, 55 (App. Div. 1988) (company that merges into
                      26   another no longer had capacity to sue). As a result, only West’s and West Brand’s
                      27   citizenship is relevant to the determination of diversity.
                      28         23.    This conclusion is consistent with the 2012 Modification and 2014
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                       1   Modification, which, as already noted in paragraph 20 above, confirm that each of
                       2   Ye World and Please Gimme is a mere d/b/a of West Brands, and shall not be
                       3   reinstated as an independent corporate entity. (See Jacobs Decl. ¶¶ 3-4, Exhs. B-C
                       4   (referring to Ye World and Please Gimme as “d/b/a’s” of West Brands))
                       5   Accordingly, Ye World’s and Please Gimme’s purported Delaware and New York
                       6   citizenship, respectively, are not relevant to, and do not affect, diversity
                       7   jurisdiction, because they have no citizenship separate and apart from West Brand’s
                       8   California citizenship.
                       9         24.    Unlike West and West Brands, Defendants are now, and were at the
                      10   time that Plaintiffs commenced the Action, Connecticut corporations with their
                      11   principal places of business in New York. (Cplt. ¶¶ 11-12) Defendants, therefore,
                      12   are considered citizens of Connecticut and New York for purposes of evaluating
                      13   diversity jurisdiction. Because West and West Brands are California citizens and
                      14   Defendants are not, complete diversity exists between Plaintiffs, on the one hand,
                      15   and Defendants, on the other.
                      16         25.    Federal diversity jurisdiction also requires that the amount in
                      17   controversy exceed $75,000, exclusive of interest and costs. 28 U.S.C. § 1332(a).
                      18   Although Plaintiffs avoid placing a specific dollar figure on the disgorgement and
                      19   other recovery they seek, the Complaint leaves no doubt that the amount in
                      20   controversy far exceeds $75,000, exclusive of interest and costs. (See, e.g., Cplt. ¶
                      21   4 (Defendants have “unjustly earned millions of dollars by tethering . . . West’s
                      22   songwriting efforts for an unlawful term”) (emphasis added)) Indeed, the breadth
                      23   of the relief that Plaintiffs seek inarguably shows that the amount at stake in each of
                      24   the three purported claims is substantially higher than the $75,000 threshold for
                      25   diversity jurisdiction.
                      26         26.    Here, Plaintiffs seek “an award . . . of all monies [Defendants]
                      27   received, during the four years before Plaintiffs filed this suit and through the date
                      28   of judgment, from the exploitation of any musical composition Plaintiffs delivered
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                       1   to [Defendants] on or after October 1, 2010, less any monies [Defendants] ha[ve]
                       2   already paid to Plaintiffs from such exploitation.” (Cplt., Prayer for Relief ¶ B; see
                       3   also Cplt. ¶¶ 75, 76,78) The monies that Defendants have received and retained
                       4   during the past four years from Compositions delivered to them on or after October
                       5   1, 2010 pursuant to the 2003 Agreement and Modifications are well in excess of
                       6   $75,000. 4 (See Declaration of Thomas Foley (“Foley Decl.”), ¶ 2)
                       7         27.    Through each of their three purported claims, Plaintiffs also seek the
                       8   reversion of the copyrights and other interests “in each musical composition
                       9   Plaintiffs delivered to [Defendants] on or after October 1, 2010”. (Cplt., Prayer for
                      10   Relief ¶ D; see also Cplt. ¶¶ 71(d), 75, 76, 78, Prayer for Relief ¶ C(1)). The value
                      11   of such copyrights and interests, by themselves, also is much greater than $75,000.
                      12   (See Foley Decl. ¶ 3)
                      13         28.    In addition to the monies and rights that Plaintiffs seek to disgorge,
                      14   they also expressly demand an award of “Plaintiffs’ attorneys’ fees.” (Cplt., Prayer
                      15   for Relief ¶ E) Plaintiffs do not specify whether they base this demand on a
                      16   particular fee-shifting statute or provision in the parties’ agreements; however,
                      17   under Ninth Circuit law, the amount in controversy for evaluating diversity
                      18   jurisdiction includes “attorneys’ fees awarded under fee-shifting statutes or
                      19   contracts”, including future attorneys’ fees accruing after the commencement of
                      20   litigation. Fritsch v. Swift Transp. Co. of Arizona, LLC, 899 F.3d 785, 794 (9th Cir.
                      21   2018). Quinn Emanuel Urquhart & Sullivan, LLP (“Quinn”) represents Plaintiffs
                      22   in this matter. Although Defendants are not privy to Plaintiffs’ fee arrangements
                      23   with Quinn, the Complaint indicates that two senior partners, John B. Quinn and
                      24   Robert M. Schwartz, and two mid-level associates, Aaron Perahia and Rukayatu
                      25   Tijani, are working on this matter. (See Cplt. at 1) An attorneys’ fee application
                      26   4
                             By placing a value on the claims at issue, Defendants do not concede that
                           Plaintiffs are entitled to any relief whatsoever. See Lewis v. Verizon Comm’ns, Inc.,
                      27   627 F.3d 395, 400 (9th Cir. 2010) (“The amount in controversy is simply an
                           estimate of the total amount in dispute, not a prospective assessment of defendant's
                      28   liability.”).
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                       1   that Quinn filed in this Court in November 2018 indicates that Quinn’s standard
                       2   hourly rates for its senior partners and mid-level associates at that time were
                       3   approximately $1,360 and $800, respectively. (Jacobs Decl. ¶ 7, Exh. F) These
                       4   rates are consistent with similar applications filed by Quinn in other jurisdictions.
                       5   (Id. ¶¶ 8-9, Exhs. G-H) Taken together, these applications indicate that the average
                       6   standard hourly rate that Quinn charges for the attorneys staffed on this matter is
                       7   approximately $1,080. At this rate, Quinn’s fees would surpass $75,000 after the
                       8   firm bills just 69.5 hours. Even if Plaintiffs were receiving a partial discount on
                       9   Quinn’s standard rates (and Defendants have no reason to believe they are),
                      10   Plaintiffs’ attorneys’ fees will no doubt exceed $75,000 at the early stages of this
                      11   litigation, assuming their fees do not exceed the $75,000 threshold already.
                      12   Accordingly, the potential attorneys’ fee award alone satisfies the amount in
                      13   controversy requirement for diversity jurisdiction.
                      14         B.     This Court Also Has Federal Question Jurisdiction Because Two
                                        Of The Three Claims At Issue Arise Under The Copyright Act.
                      15
                      16         29.    The Complaint purports to state three causes of action, two of which –
                      17   the unjust enrichment and constructive trust claims – require adjudication of the
                      18   parties’ copyright ownership in and rights to the Compositions. (Cplt. ¶¶ 4, 65-79)
                      19   While Defendants do not concede that Plaintiffs can allege a valid claim under the
                      20   Copyright Act, the unjust enrichment and constructive trust causes of action as
                      21   plead in the Complaint, and as described in paragraphs 6 and 7 above, are within
                      22   the original jurisdiction of this Court, pursuant to 28 U.S.C. §§ 1331 and 1441,
                      23   because the matter in controversy arises under and is completely preempted by the
                      24   Copyright Act under well-settled law.
                      25         30.    “If a federal cause of action completely preempts a state cause of
                      26   action any complaint that comes within the scope of the federal cause of action
                      27   necessarily ‘arises under’ federal law.” Franchise Tax Bd. v. Constr. Laborers
                      28   Vacation Tr., 463 U.S. 1, 24 (1983). Although “the Ninth Circuit has not yet had
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                       1   occasion to decide whether removal jurisdiction is properly predicated upon
                       2   complete preemption under [the Copyright Act], several circuit court opinions, as
                       3   well as decisions in this district, have so held.” Pizarro v. Aguilar, Case No. CV
                       4   10-2252, 2010 WL 11598015, at *2 (C.D. Cal. July 6, 2010) (collecting cases).
                       5           31.   Indeed, copyright preemption is broad. G.S. Rasmussen & Assocs.,
                       6   Inc. v. Kalitta Flying Serv., Inc., 958, F.2d 896, 904 (9th Cir. 1992), cert. denied,
                       7   508 U.S. 959 (1993). The Copyright Act completely preempts a state law claim
                       8   when “the work involved . . . fall[s] within the subject matter of the Copyright
                       9   Act”, and “the rights that a plaintiff asserts under state law. . . are equivalent to
                      10   those protected by the Copyright Act”. Kodadek v. MTV Networks, Inc., 152 F.3d
                      11   1209, 1212 (9th Cir. 1998)) (internal quotations omitted); see also 17 U.S.C. §
                      12   301(a) (same); Laws v. Sony Music Entm’t, Inc., 448 F.3d 1134, 1137-38 (9th Cir.
                      13   2006) (same). Here, there can be doubt that Plaintiffs’ unjust enrichment and
                      14   constructive trust causes of action satisfy both prongs of preemption, and are
                      15   completely preempted by the Copyright Act.
                      16           32.   First, the Compositions at issue in this Action, including those that are
                      17   the subject of Plaintiffs’ unjust enrichment and constructive trust causes of action,
                      18   are within the subject matter of the Copyright Act. See ABKCO Music, Inc. v.
                      19   LaVere, 217 F.3d 684, 688 (9th Cir. 2000) (original musical compositions have
                      20   enjoyed copyright protection since 1831). Although Plaintiffs attempt to steer clear
                      21   of the Copyright Act by almost entirely avoiding the word “copyright”, their efforts
                      22   fail.
                      23           33.   In fact, Plaintiffs’ unjust enrichment and constructive trust causes of
                      24   action reference West’s “rights to” and “ownership interest” in the “musical
                      25   compositions” at issue. (Cplt. ¶¶ 75, 78) The rights to, ownership interest in, and
                      26   exploitation of copyrightable musical compositions are precisely the subject matter
                      27   of the Copyright Act. See 17 U.S.C. § 102(a)(2) (the Copyright Act applies to
                      28   “musical works, including any accompanying words”). Specifically, in Plaintiffs’
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                       1   unjust enrichment claim, they allege that EMI took “assignments of Plaintiffs’
                       2   rights to the compositions . . . and receiv[ed] licensing and other revenues from the
                       3   exploitation” thereof. (Cplt. ¶ 75 (emphasis added)) Similarly, in Plaintiffs’
                       4   constructive trust claim, they allege that EMI wrongfully has withheld property
                       5   belonging to Plaintiffs as a result of “the ownership interest Plaintiffs conveyed to
                       6   EMI in each musical composition delivered to EMI” before October 1, 2010, and
                       7   the money resulting “from the exploitation of any musical composition Plaintiffs
                       8   delivered to EMI” after October 1, 2010. (Cplt. ¶ 78 (emphasis added)) Because
                       9   the subject matter of Plaintiffs’ unjust enrichment and constructive trust causes of
                      10   action are the same as the Copyright Act, the first prong of complete preemption is
                      11   satisfied with respect to both claims.
                      12         34.    Second, the purported rights that Plaintiffs seek to protect through their
                      13   unjust enrichment and constructive trust causes of action are equivalent to those
                      14   protected by the Copyright Act. “To survive preemption, the state cause of action
                      15   must protect rights which are qualitatively different from the copyright rights”, and
                      16   must include an “extra element” that alters the nature of the action. Del Madera
                      17   Props. v. Rhodes & Gardner, 820 F.2d 973, 977 (9th Cir. 1987), overruled on other
                      18   grounds, Montz v. Pilgrim Films & Television, Inc., 649 F.3d 975 (9th Cir.
                      19   2011). However, “[t]he mere presence of an additional element” does not save a
                      20   claim from preemption, but rather, “[t]he extra element must transform the nature
                      21   of the action.” Laws, 448 F.3d at 1144. “Although the elements of [a plaintiff’s]
                      22   state law claims may not be identical to the elements in a copyright claim”, if the
                      23   “underlying nature” of the state law claims are “part and parcel of a copyright
                      24   claim”, the state law claims are preempted. Id.
                      25         35.    Here, Plaintiffs’ constructive trust cause of action seeks to protect the
                      26   same rights in the Compositions that the Copyright Act protects, and, therefore,
                      27   cannot survive preemption. Several courts within the Ninth Circuit have
                      28   determined that constructive trust claims arising from the exploitation of
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                       1   copyrightable works, like the constructive trust claim at issue here, are
                       2   preempted. See, e.g., Pizarro, 2010 WL 11598015 at *2-3 (constructive claim that
                       3   sought to “vindicate [plaintiff’s] rights as an alleged copyright holder” tantamount
                       4   to copyright infringement claim); see also Trenton v. Infinity Broad. Corp., 865 F.
                       5   Supp. 1416, 1428 (C.D. Cal. 1994) (constructive trust claim “in essence merely
                       6   assert[ed] a protectable interest in [the copyrighted work] and defendants’
                       7   unauthorized use thereof” and thus was “not qualitatively different” from a
                       8   copyright claim). This body of case law confirms that Plaintiffs’ constructive trust
                       9   claim is preempted. As set forth above, through their constructive trust claim,
                      10   Plaintiffs specifically seek to recover Defendants’ copyright and other ownership
                      11   interests in many of the Compositions, and a substantial amount of the revenues
                      12   that Defendants derived from the exploitation of the Compositions. (Cplt. ¶ 78) In
                      13   other words, Plaintiffs allege that they own the entirety of the copyrights in the
                      14   Compositions that West delivered on or after October 1, 2010, and that, because
                      15   Defendants do not own any portion of the copyrights in these Compositions,
                      16   Plaintiffs are entitled to all monies that Defendants have retained from their
                      17   exploitation. Because these allegations are cut from the same cloth as a copyright
                      18   ownership claim, Plaintiffs’ constructive trust claim is preempted. See Pizarro,
                      19   2010 WL 11598015 at *2-3; Trenton, 865 F. Supp. at 1428.
                      20         36.    Plaintiffs’ unjust enrichment claim fares no better. As a threshold
                      21   matter, “unjust enrichment” is not a valid cause of action in California, and is more
                      22   “synonymous with restitution”. Melchior v. New Line Prods., Inc., 106 Cal. App.
                      23   4th 779, 793 (2003). Nevertheless, several courts have independently determined
                      24   that unjust enrichment claims are preempted when, like here, they are premised on
                      25   the same rights protected by the Copyright Act. See, e.g., Ryoo Dental, Inc. v. Han,
                      26   Case No. CV 15-308, 2015 WL 4208580, at *4 (C.D. Cal. July 9, 2015) (unjust
                      27   enrichment claim preempted where it “rests on the same facts and asserts the same
                      28   rights as a copyright claim”); Firoozye v. Earthlink Network, 153 F. Supp. 2d 1115,
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                       1   1128 (N.D. Cal. 2001) (unjust enrichment claim preempted where it was based on
                       2   the allegation that “defendants unfairly benefitted from their unauthorized use of”
                       3   copyrightable work, which is “equivalent to the rights protected in . . . the
                       4   Copyright Act”); Melchior, 106 Cal. App. 4th at 791-93 (unjust enrichment claim
                       5   preempted where plaintiff sought restitution based on defendant’s use and
                       6   distribution of plaintiff’s copyrightable work); accord Falcon Enters., Inc. v. Nobel
                       7   Devs., Inc., Case No. CV 06-1404, 2007 WL 737347, at *2 (W.D. Wash. Mar. 5,
                       8   2007) (unjust enrichment claim derivative of an unfair competition claim
                       9   preempted “when a plaintiff expressly bases an unfair competition claim on rights
                      10   granted by the Copyright Act”). In fact, “[w]hile a claim for unjust enrichment may
                      11   require proof that a benefit was conferred on the defendant, where the unjust
                      12   enrichment arises from defendants’ unauthorized use of a copyrighted work, such
                      13   an extra element does not qualitatively change the rights at issue, the rights the
                      14   plaintiff holds in the copyrighted work, and does not avoid preemption.” Zito v.
                      15   Steeplechase Films, Inc., 267 F. Supp. 2d 1022, 1027 (N.D. Cal. 2003).
                      16         37.    Here, Plaintiffs’ unjust enrichment claim seeks recovery based on
                      17   Defendants’ alleged “taking [of] assignments of Plaintiffs’ rights to the
                      18   [C]ompositions . . . and receiving licensing and other revenues from the[ir]
                      19   exploitation”. (Cplt. ¶ 75) In other words, Plaintiffs’ unjust enrichment claim is
                      20   premised on Defendants’ supposedly improper assertion of copyright interests in,
                      21   and receipt and retention of monies from exploitations of, the Compositions.
                      22   Plaintiffs’ unjust enrichment claim is virtually identical to unjust enrichment claims
                      23   in Zito and Melchior, and, just as the courts there found the latter claims to be
                      24   preempted, so, too, should this Court determine here.
                      25         38.    For these reasons, Plaintiffs’ unjust enrichment and constructive trust
                      26   claims are completely preempted by the Copyright Act, and, as such, give rise to
                      27   federal question subject matter jurisdiction.
                      28
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                       1   IV.   CONCLUSION
                       2         39.    For all of the foregoing reasons, this Court has original jurisdiction of
                       3   this action pursuant to 28 U.S.C. §§ 1331, 1441, and 1446.
                       4         40.    Accordingly, Defendants hereby remove the above-captioned matter to
                       5   the United States District Court for the Central District of California.
                       6   Dated: March 1, 2019                      MANATT, PHELPS & PHILLIPS, LLP
                       7                                             By: /s/ Robert A. Jacobs
                                                                        Robert A. Jacobs
                       8                                                Maura K. Gierl
                                                                        Molly K. Wyler
                       9
                                                                         Attorneys for Defendants
                      10                                                 EMI APRIL MUSIC INC. and EMI
                                                                         BLACKWOOD MUSIC INC.
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    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                            Civil Division
                     Central District, Stanley Mosk Courthouse, Department 62

 19STCV02732                                                                      February 21, 2019
 PLEASE GIMME MY PUBLISHING, INC., A NEW YORK                                              1:37 PM
 CORPORATION , et al. vs EMI APRIL MUSIC, INC., A
 CONNECTICUT CORPORATION , et al.


 Judge: Honorable Michael L. Stern                  CSR: None
 Judicial Assistant: M. Alaniz                      ERM: None
 Courtroom Assistant: S. Alexander                  Deputy Sheriff: None

 APPEARANCES:
 For Plaintiff(s): No Appearances
 For Defendant(s): No Appearances




 NATURE OF PROCEEDINGS: Court Order

 The matter is not called for hearing.

 The Court has received a peremptory challenge filed by plaintiff on February 14, 2019 pursuant
 to Code of Civil Procedure section 170.6. This action was filed by plaintiff on January 25, 2019.
 Under Code of Civil Procedure section 170.6 (a) (2), a peremptory challenge must ne exercised
 within 15 days after a case is assigned to an all purpose judge.

 The instant challenge therefore is tardy and is denied as it was filed more than 15 days after the
 action was filed.

 Clerk is to give notice

 Certificate of Mailing is attached.




                                            Minute Order                                 Page 1 of 1
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                                                                                 Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
Please Gimme My Publishing, Inc., a New York corporation et al
DEFENDANT/RESPONDENT:
EMI April Music, Inc., a Connecticut corporation et al
                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              19STCV02732

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order upon each party or counsel
named below by placing the document for collection and mailing so as to cause it to be deposited in the
United States mail at the courthouse in Los Angeles, California, one copy of the original filed/entered
herein in a separate sealed envelope to each address as shown below with the postage thereon fully
prepaid, in accordance with standard court practices.




    Aaron H. Perahia                                           Robert M. Schwartz
    Quinn Emanuel Urquhart & Sullivan                          Quinn Emanuel Urquhart & Sullivan, LLP
    865 S Figueroa St Fl 10                                    865 South Figueroa Street, 10th Floor
    Los Angeles, CA 90017                                      Los Angeles, CA 90017




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 02/22/2019                                    By:   M. Alaniz
                                                           Deputy Clerk




                                        CERTIFICATE OF MAILING
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                       7
                           Attorneys for Defendants
                       8   EMI APRIL MUSIC INC. and
                           EMI BLACKWOOD MUSIC INC.
                       9
                      10                        UNITED STATES DISTRICT COURT
                      11                      CENTRAL DISTRICT OF CALIFORNIA
                      12
                      13   PLEASE GIMME MY PUBLISHING,              No. 2:19-cv-________________
                      14   INC., a New York corporation; WEST
                           BRANDS, LLC, a Delaware limited          DECLARATION OF ROBERT A.
                      15   liability corporation; KANYE WEST, an    JACOBS IN SUPPORT OF
                           individual; and YE WORLD                 DEFENDANTS’ NOTICE OF
                      16   PUBLISHING, INC., a Delaware             REMOVAL
                           corporation, also doing business as YE
                      17   WORLD MUSIC,
                      18
                                      Plaintiffs,
                      19
                                v.
                      20
                           EMI APRIL MUSIC INC., a Connecticut
                      21   corporation; EMI BLACKWOOD
                           MUSIC INC., a Connecticut corporation;
                      22   and DOES 1-10,
                      23
                                      Defendants.
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M ANATT , P HELPS &
  P HILLIPS , LLP
  ATTO RNEY S AT LAW
                                                                            DECLARATION OF ROBERT A. JACOBS
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               Case 2:19-cv-01527-MRW Document 1-2 Filed 03/01/19 Page 74 of 192 Page ID #:142



                       1                      DECLARATION OF ROBERT A. JACOBS
                       2           I, Robert A. Jacobs, hereby declare under 28 U.S.C. § 1746 as follows:
                       3           1.    I am a partner at Manatt, Phelps & Phillips, LLP, attorneys for
                       4   Defendants EMI April Music Inc. and EMI Blackwood Music Inc. (collectively,
                       5   “Defendants”). I submit this declaration in support of Defendants’ notice of
                       6   removal pursuant to 28 U.S.C. §§ 1331, 1441, and 1446.
                       7           2.    Attached hereto as Exhibit A is a true and correct copy of relevant
                       8   excerpts of the agreement entered into as of October 1, 2003 (the “2003
                       9   Agreement”) referenced by Plaintiffs Kanye West; West Brands, LLC; Please
                      10   Gimme My Publishing, Inc., and Ye World Publishing, Inc. (collectively,
                      11   “Plaintiffs”) as Exhibit A to the Complaint (the “Complaint”) in the action
                      12   captioned Please Gimme My Publishing, Inc.; West Brands, LLC; Kanye West; and
                      13   Ye World Publishing, Inc. v. EMI April Music, Inc. and EMI Blackwood Music,
                      14   Inc., in the Superior Court of California, County of Los Angeles.
                      15           3.    Attached hereto as Exhibit B is a true and correct copy of relevant
                      16   excerpts of the modification of the 2003 Agreement entered into as of February
                      17   2012 (the “2012 Agreement”).
                      18           4.    Attached hereto as Exhibit C is a true and correct copy of relevant
                      19   excerpts of the modification of the 2003 Agreement entered into as of November 5,
                      20   2014 referenced by Plaintiffs as Exhibit F to the Complaint.
                      21           5.    Attached hereto as Exhibit D is a true and correct copy of a printout of
                      22   the current Business Entity detail from the Delaware Secretary of State’s website
                      23   for Ye World Publishing, Inc., which was accessed and printed on February 22,
                      24   2019.
                      25           6.    Attached hereto as Exhibit E is a true and correct copy of a printout of
                      26   the current Business Entity Status Information from the New York Secretary of
                      27   State’s website for Please Gimme My Publishing, Inc., which was accessed and
                      28   printed on February 14, 2019.
M ANATT , P HELPS &
  P HILLIPS , LLP
  ATTO RNEY S AT LAW
                                                                                  DECLARATION OF ROBERT A. JACOBS
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                       1           7.    Attached hereto as Exhibit F is a true and correct copy of a fee
                       2   application filed by Plaintiffs’ attorneys of record, Quinn Emanuel Urquhart &
                       3   Sullivan, LLP (“Quinn”), in November 2018 in the Central District of California
                       4   action captioned Vayo v. Rational Entertainment Enterprises, Case No. 2:18-cv-
                       5   0376. Quinn’s rates in that matter are detailed on pages 20 and 21 of the fee
                       6   application. (Exh. F at 20:16-21:9)
                       7           8.    Attached hereto as Exhibit G is a true and correct copy of a
                       8   declaration filed in support of a fee application filed by Quinn in September 2018 in
                       9   the District Court of New Jersey action captioned In re Liquid Aluminum Sulfate
                      10   Antitrust Litigation, Case No. 16-md-2687. Quinn’s rates in that matter are detailed
                      11   in Exhibit 1 to the declaration submitted in support of the fee application. (Exh. G
                      12   at 7)
                      13           9.    Attached hereto as Exhibit H is a true and correct copy of a fee
                      14   application filed by Quinn in August 2018 in the United States Bankruptcy Court in
                      15   the Southern District of New York action captioned In re China Fishery Group
                      16   Limited, Case No. 16-11895. Quinn’s rates in that matter are detailed on page 2 of
                      17   the summary of the fee application. (Exh. G at 2)
                      18           I declare under penalty of perjury under the laws of the United States of
                      19   America that the foregoing is true and correct.
                      20           Executed on March 1, 2019 in Los Angeles, California.
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                                                                                 /s/ Robert A. Jacobs
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M ANATT , P HELPS &
  P HILLIPS , LLP
  ATTO RNEY S AT LAW
                                                                     2            DECLARATION OF ROBERT A. JACOBS
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         EXHIBIT A
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         EXHIBIT B
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         EXHIBIT C
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         EXHIBIT D
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 Delaware.gov                                                                                                Governor | General Assembly | Courts | Elected Officials | State Agencies




  Department of State: Division of Corporations
                                                                                                                                                                       Allowable Characters
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  HOME
  About Agency
  Secretary's Letter                                                                                                    Entity Details
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  Office Location                                             File Number:                 3566690
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  SERVICES
  Pay Taxes                                                   Entity Name:                 YE WORLD PUBLISHING, INC.
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  Entity Search                                               Residency:                   Domestic                             State:   State:
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  INFORMATION
  Corporate Forms                                             REGISTERED AGENT INFORMATION
  Corporate Fees
  UCC Forms and Fees
  Taxes
  Expedited Services                                          Name:                        THE COMPANY CORPORATION
  Service of Process
  Registered Agents                                           Address:                     251 LITTLE FALLS DRIVE
  GetCorporate Status
  Submitting a Request
                                                              City:                        WILMINGTON                          County:   New Castle
  How to Form a New Business Entity
  Certifications, Apostilles & Authentication of Documents
                                                              State:                       DE                           Postal Code:     19808

                                                              Phone:                       302-636-5440


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         EXHIBIT E
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            IDFWWKHQKHZRXOGEHLQYLRODWLRQRI5((/¶V(8/$QRWHQWLWOHGWRSOD\RQ5((/¶V
            VLWH QRW HQWLWOHG WR DQ\ RI KLV ZLQQLQJV IURP WKH 6&&23 7RXUQDPHQW DQG OLNHO\
            IDFLQJ RWKHU FLYLO DQG FULPLQDO OLDELOLW\  See 6WHUQ 'HFO ([ '  /HWWHU
            IURP5((/¶VFRXQVHOWR9D\R¶VFRXQVHO  ,I9D\RZHUHLQ&DQDGDWKRXJKKHFRXOG
           EH HQWLWOHG WR UHFRYHU KLV ZLQQLQJV RI DSSUR[LPDWHO\   7KLV H[SODLQV EXW
           FHUWDLQO\ GRHV QRW MXVWLI\ ZK\ 9D\R ZRXOG JR WR WKH OHQJWK RI FUHDWLQJ IRUJHG
           GRFXPHQWVWRWU\WRFRQYLQFH5((/KHZDVLQ&DQDGDDWWKHUHOHYDQWWLPH
           ,,      9$<2),/(668,75(/<,1*217+()25*(''2&80(176
                     ,Q0D\9D\RILOHGWKLVDFWLRQDOOHJLQJWKDW5((/ZURQJIXOO\ZLWKKHOG
           9D\R¶VZLQQLQJVLQWKH6&2237RXUQDPHQW  &RPSO.  9D\R¶VFODLPVDOO
           UHYROYHG DURXQG 5((/¶V DOOHJHG EUHDFK RI WKH (8/$ RU LWV DOOHJHG IUDXG LQ
           EUHDFKLQJ WKH (8/$ E\ QRW SD\LQJ 9D\R KLV ZLQQLQJV IURP WKH 6&223
           7RXUQDPHQW  Id    9D\R UHOLHG RQ WKH IRUJHG HYLGHQFH LQ KLV &RPSODLQW
           FODLPLQJ WKDW KH ³SURYLGHG HYLGHQFH VKRZLQJ WKDW KH ZDV LQ &DQDGD GXULQJ WKH
           HQWLUHW\RIKLVSOD\LQWKH6&223WRXUQDPHQW´DQGWKHUHIRUH5((/KDGQRULJKWWR
           IUHH]H KLV DFFRXQW  Id.    1RW \HW NQRZLQJ WKDW 9D\R¶V ³HYLGHQFH´ ZDV
           IUDXGXOHQW5((/ILOHGD0RWLRQWR'LVPLVVIRU/DFNRI3HUVRQDO-XULVGLFWLRQDQGLQ
           WKH DOWHUQDWLYH ,PSURSHU )RUXP  'NW   9D\R¶V 2SSRVLWLRQ WR WKH 0RWLRQ WR
           'LVPLVVDWWDFKHGDQGUHOLHGXSRQKLV'HFHPEHUOHWWHUZKLFKKDGDWWDFKHGWKH
           IRUJHGUHFRUGV²WKRXJKLQUHWURVSHFWWHOOLQJO\WKHIRUJHGUHFRUGVWKHPVHOYHVZHUH
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                     $IWHUWKH0RWLRQWR'LVPLVVZDVIXOO\EULHIHGEXWEHIRUHLWZDVKHDUG5((/
                 UHFHLYHGD³WLS´IURPDWKLUGSDUW\WKDW9D\R¶VEDQNDQGLQWHUQHWUHFRUGVZHUHDOWHUHG
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                   IDOVH LPSUHVVLRQ WKDW 9D\R ZDV LQ &DQDGD GXULQJ WKH 6&223 7RXUQDPHQW VR KH
                   FRXOG IUDXGXOHQWO\ GHPDQG SD\PHQW IURP 5((/  6WHUQ 'HFO    $V GHVFULEHG
                   EHORZ 5((/¶V IXUWKHU LQYHVWLJDWLRQ FRQILUPHG WKLV WR EH WKH FDVH DQG 5((/
                   LPPHGLDWHO\FRQIURQWHG9D\RDERXWLWRQD)ULGD\HYHQLQJ  Id.  9D\R¶V
                   FRXQVHOFODLPHGWKDWKHZDVQRWDZDUHRIDQ\IRUJHU\LHKHKDGMXVWSDVVHGDORQJ
                   WKHGRFXPHQWV9D\RKDGSURYLGHGWRKLPWKDWKHZRXOGDVN9D\RDERXWWKHPDQG
                   WKDWKHZDVFRQFHUQHGDERXWVSHDNLQJIXUWKHUEHFDXVH²LIWKHGRFXPHQWVZHUHLQIDFW
                   IRUJHULHV²WKHFULPHIUDXGH[FHSWLRQFRXOGDSSO\  IdDW  $ERXWKRXUVODWHU
                 RQ 6XQGD\ HYHQLQJ 9D\R ILOHG D QRWLFH RI YROXQWDU\ GLVPLVVDO RI DOO RI KLV FODLPV
                 'NW  DQG KLV FRXQVHO VXEVHTXHQWO\ ZLWKGUHZ 'NW   5((/ PDGH UHSHDWHG
                 HIIRUWVWRPHHWDQGFRQIHUZLWK9D\R¶VQHZFRXQVHOWRDYRLGWKHQHHGIRUWKLVPRWLRQ
                 LQFOXGLQJE\VHQGLQJDGHWDLOHGOHWWHUH[SODLQLQJ9D\R¶VIRUJHU\  6WHUQ'HFO
                  id. ([ ,  /HWWHU IURP 5((/¶V FRXQVHO WR 9D\R¶V FRXQVHO  9D\R
                 LJQRUHGWKHVHPHHWDQGFRQIHUUHTXHVWVDQGQHYHUGHQLHGWKHIRUJHU\  Id.
                 ,,, &21),50$7,217+$79$<2¶6'2&80(176$5()25*(5,(6
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                 SDUW\KDGVSRNHQWRWKH)RUJHU  6WHUQ'HFO  7KH)RUJHUWROGWKHWKLUGSDUW\
                 WKDW 9D\R FRQWDFWHG WKH )RUJHU IRU DVVLVWDQFH FUHDWLQJ D YLUWXDO SULYDWH QHWZRUN
                 ³931´IRU9D\RWRXVHZKLOHKHZDVSOD\LQJRQ5((/¶VVLWHLQ&DOLIRUQLDWRFUHDWH
                 WKHIDOVHDSSHDUDQFHWKDWKHZDVLQ&DQDGD  Id  7KH)RUJHUDOVRSURYLGHGWKHWKLUG
                 SDUW\ ZLWK WKH original VWDWHPHQWV IURP )LUVW 5HSXEOLF %DQN DQG %HOO &DQDGD WKDW
                 9D\RKDGVHQWWRWKH)RUJHUWRGRFWRUVRWKDWWKH\ZRXOGGHPRQVWUDWH IDOVHO\ WKDW
                 9D\R ZDV LQ &DQDGD GXULQJ WKH 6&223 WRXUQDPHQW  Id.  ,PSRUWDQWO\ WKH WKLUG
                 SDUW\NQHZDQGYROXQWHHUHGWKDW9D\R¶VIRUJHGGRFXPHQWVSXUSRUWHGWREHIURP%HOO
                 &DQDGD DQG )LUVW 5HSXEOLF %DQN LQIRUPDWLRQ WKDW was not public DW WKH WLPH RU
                 SURYLGHGWRWKHWKLUGSDUW\E\5((/  Id.
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                                   WKH WRWDO DPRXQWV RI GHELWV DQG FUHGLWV UHIOHFWHG LQ WKH $FFRXQW
                                   6XPPDULHVLQ9D\R¶VVWDWHPHQWV  Id.([V-.9D\R¶VSXUSRUWHG)LUVW
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                                   UHFHLYHGIURPWKHWKLUGSDUW\WKRXJKWKHDPRXQWVDGGXSSHUIHFWO\  Id.
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                                  IHHIRUXVLQJDQRXWRIQHWZRUN$70  Compare id.([.with ([0 
                                  $V H[SODLQHG DERYH WKHUH LV QR WUDQVDFWLRQ LQ 9D\R¶V YHUVLRQ RI WKH
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                                  RULJLQDO YHUVLRQ UHFHLYHG IURP WKH WKLUG SDUW\ KRZHYHU WKHUH LV RQH
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                                    Id. ([ 0 DW   ,Q 9D\R¶V YHUVLRQ RI WKH VWDWHPHQW
                                  KRZHYHU WKH DYHUDJH GDLO\ EDODQFH LV  ± LGHQWLFDO WR WKH
                                  SHQQ\H[FHSWWKDW9D\R¶VYHUVLRQIOLSVDWRD  Id.([.DW  $
                                  FKDQJHOLNHWKLV²HVSHFLDOO\ZKHQSDLUHGZLWKWKHIDFWWKDWWKHDPRXQWV
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            LPPHGLDWHO\ DIWHU 5((/ WROG 9D\R LW NQHZ WKH GRFXPHQWV ZHUH IRUJHULHV  7KLV
            GLVPLVVDO DQG ZLWKGUDZDO KDSSHQHG HYHQ EHIRUH 5((/ SURYLGHG WKH HYLGHQFH RI
            IRUJHU\VHWIRUWKDERYH  4XLWHSODLQO\9D\RNQHZKHKDGEHHQFDXJKW
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                      &RXUWVKDYHWKHLQKHUHQWSRZHUWRVDQFWLRQSDUWLHVDQGDWWRUQH\VZKRFRQGXFW
           OLWLJDWLRQ LQ EDG IDLWK RU ZKR SHUSHWUDWH IUDXG RQ WKH FRXUW  Chambers v. NASCO,
           Inc.,86DIILUPLQJDQDZDUGRILQDWWRUQH\V¶IHHV
           SXUVXDQWWRWKHFRXUW¶VLQKHUHQWSRZHUWRLPSRVHVDQFWLRQVIRUEDGIDLWKFRQGXFWsee
           also Leon v. IDX Sys. Corp)GWK&LU³8QGHULWVµLQKHUHQW
           SRZHUV¶ D GLVWULFW FRXUW PD\ DOVR DZDUG VDQFWLRQV LQ WKH IRUP RI DWWRUQH\V¶ IHHV
           DJDLQVW D SDUW\ RU FRXQVHO ZKR DFWV LQ EDG IDLWK YH[DWLRXVO\ ZDQWRQO\ RU IRU
           RSSUHVVLYHUHDVRQV´FLWDWLRQVRPLWWHG  ,QGHHG³ZKHQDSDUW\OLHVWRWKHFRXUWDQG
           KLVDGYHUVDU\LQWHQWLRQDOO\UHSHDWHGO\DQGDERXWLVVXHVWKDWDUHFHQWUDOWRWKHWUXWK
           ILQGLQJSURFHVVLWFDQEHIDLUO\VDLGWKDWKHKDVIRUIHLWHGKLVULJKWWRKDYHKLVFODLP
           GHFLGHGRQWKHPHULWV´  McMunn v. Memorial Sloan–Kettering Ctr.,)6XSSG
             6'1<  ILQGLQJ WKDW GLVPLVVDO RI DFWLRQ ZLWK SUHMXGLFH DQG
           PRQHWDU\VDQFWLRQVZDVZDUUDQWHGGXHWRSODLQWLII¶VEDGIDLWKFRQGXFW
                     0DQXIDFWXULQJIUDXGXOHQWHYLGHQFHLQDQHIIRUWWRGHIUDXG5((/DQGWKH&RXUW
           HDVLO\ULVHVWRWKHOHYHORIPLVFRQGXFWZDUUDQWLQJVDQFWLRQV  See e.g., Patsy’s Brand,
           Inc. v. I.O.B., Inc.,)GG&LUDIILUPLQJDILQGLQJRIFRQWHPSW
           DQG DZDUG RI DWWRUQH\V¶ IHHV XQGHU WKH /DQKDP $FW DJDLQVW D SDUW\ ZKR VXEPLWWHG
           IUDXGXOHQW HYLGHQFH Eppes v. H.E. Snowden  )6XSS  (' .\ 
           VWDWLQJ ³>W@KH UHPHG\ >IRU PDQXIDFWXULQJ HYLGHQFH@     >@ PXVW EH VXIILFLHQW WR
                 VHUYHXQLYHUVDOQRWLFHWKDWWKLVFRQGXFWZLOOQRWEHWROHUDWHG´DQGDZDUGLQJIHHVDQG
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             FDQRQO\EHUHPHGLHGE\UHTXLULQJ9D\RWRFRPSHQVDWH5((/IRUWKHFRVWVDQGIHHVLW
             LQFXUUHGGHIHQGLQJDJDLQVW9D\R¶VIUDXGXOHQWFODLPVEDVHGRQGRFWRUHGHYLGHQFH  
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             WR³IXOO\LQGHPQLI\GHIHQGDQGKROGKDUPOHVV>5((/@IURPDQGDJDLQVWDOOcosts
           and expenses, including legal fees and any other charges whatsoever, howsoever
           caused, that may arise as a result of: (a) your breach of this Agreement, in whole or
           in part´  'NW1R:LQWHU'HFO,620RWLRQWR'LVPLVV([$DW 
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           >LH3URKLELWHG-XULVGLFWLRQVLQFOXGLQJWKH8QLWHG6WDWHV@IURPHQJDJ>LQJ@
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           LQIRUPDWLRQ XVHG E\ >5((/@ WR LGHQWLI\ \RXU ORFDWLRQ and providing [REEL] with
           false or misleading            information regarding          your location       or    place of
           residence´ 'NW1R:LQWHU'HFO,620RWLRQWR'LVPLVVDQG([$
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           DXWKHQWLF EDQN UHFRUGV VKRZ DQG WKHQ E\ SURYLGLQJ 5((/ ZLWK IRUJHG UHFRUGV
           UHJDUGLQJ KLV ORFDWLRQ DQG UHO\LQJ RQ WKHP WR ILOH WKLV VXLW 9D\R EUHDFKHG WKH
           (8/$DQG5((/LVWKXVHQWLWOHGWRIHHV
                      +DYLQJ VXHG 5((/ IRU D EUHDFK RI WKLV YHU\ (8/$ 9D\R FDQQRW DYRLG LWV
           SURYLVLRQVWKDWUHTXLUHKLPWRSD\5((/¶V³FRVWVDQGH[SHQVHVLQFOXGLQJOHJDOIHHV´
           ZKHQ 9D\R VHHNV WR GHIUDXG 5((/ DQG SXUVXH D EDGIDLWK ODZVXLW XVLQJ IRUJHG
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             FDQQRWDYRLGWKHVDPHDJUHHPHQW¶VDUELWUDWLRQSURYLVLRQ´
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             WKDWWKH(8/$³DQGDQ\PDWWHUVUHODWLQJ>WRLW@VKDOOEHJRYHUQHGE\DQGFRQVWUXHGLQ
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            WKHDWWRUQH\V¶IHHVUXOHRI6ZHGHQEHFDXVHWKHFRQWUDFWEHWZHHQWKHSDUWLHVFRQWDLQHG
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            WKH.LQJGRPRI6ZHGHQ´  IdDWFLWDWLRQRPLWWHG  
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            FRVWV LQ WKH IRUP RI DWWRUQH\V¶ IHHV LQFXUUHG GXULQJ WKH FRXUVH RI D OLWLJDWLRQ DUH
            SD\DEOHE\RQHOLWLJDWLQJSDUW\WRDQRWKHUWKHDPRXQWRIVXFKFRVWVDQGWKHWLPLQJRI
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            5((/¶V0RWLRQIRU$WWRUQH\V¶)HHVDQG&RVWV³&ROTXLWW'HFO´DW  *HQHUDOO\
            WKH ,VOH RI 0DQ +LJK &RXUW DZDUGV FRVWV RI DWWRUQH\V¶ IHHV WR WKH VXFFHVVIXO SDUW\ 
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                   WKDW³WKHYROXQWDU\GLVPLVVDORIWKHDFWLRQE\WKHSODLQWLIIVZDVDQDGPLVVLRQE\WKHP
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                 PRWLRQWKHUHSO\EULHIDQGDWWHQGLQJWKHKHDULQJ  7KLVLQFOXGHVERWKWKHWLPH4XLQQ
                 (PDQXHO VSHQW OLWLJDWLQJ WKLV $FWLRQ DV ZHOO DV WKH WLPH 4XLQQ (PDQXHO VSHQW
                 QHJRWLDWLQJZLWK9D\RDQGLQYHVWLJDWLQJKLVIUDXGXOHQWFODLPVSULRUWRWKHFRPSODLQW
                 EHLQJILOHG  7KHVHIHHVDUHUHDVRQDEOHDQGVKRXOGEHDZDUGHGLQIXOO  
                             &RXUWV LQ WKH 1LQWK &LUFXLW DVVHVVLQJ UHDVRQDEOHQHVV DSSO\ WKH ³ORGHVWDU
                 PHWKRG´see Morales v. San Rafael)GWK&LUZKLFKHQWDLOV
                 PXOWLSO\LQJ WKH QXPEHU RI KRXUV UHDVRQDEO\ H[SHQGHG LQ OLWLJDWLRQ E\ D UHDVRQDEOH
                 KRXUO\ UDWH LQ RUGHU WR REWDLQ D presumptively reasonable IHH DZDUG  Perfect 10,
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           DVVRFLDWHV ZHUH UHDVRQDEOH LQ D GLVSXWH DV LPSRUWDQW DV WKLV RQH LQ ZKLFK 9D\R
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           UHDVRQDEOH HYHQ ZKHQ XQGLVFRXQWHG  See e.g. TransWeb, LLC v. 3M Innovative
           Properties Co.  ) 6XSS G   ' 1-  DIILUPLQJ 6SHFLDO
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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

   In Re: LIQUID ALUMINUM SULFATE                     Civil Action No. 16-md-2687 (JLL) (JAD)
   ANTITRUST LITIGATION
                                                              DECLARATION OF
                                                               SAMI H. RASHID
                                                       IN SUPPORT OF APPLICATION FOR
                                                       ATTORNEYS’ FEES AND EXPENSES


                 I, Sami Rashid, Esq., declare as follows:

          1.     I am a partner in the firm of Quinn Emanuel Urquhart & Sullivan LLP (“Quinn

   Emanuel”), counsel for SUEZ Water Environmental Services Inc., SUEZ Water New Jersey Inc.,

   SUEZ Water Princeton Meadows Inc., SUEZ Water New Jersey Inc., and SUEZ Water

   Pennsylvania Inc. (“SUEZ”), and a member of the Plaintiffs’ Steering Committee above-

   captioned action (the “Action”). I am familiar with the facts contained herein based upon my

   personal knowledge, based upon information I learned from my colleagues at Quinn Emanuel

   regarding their work, and based upon information provided to me from the attorney and

   paralegal time diaries, and expense records, maintained in the ordinary course of business by

   Quinn Emanuel. I submit this declaration in support of Class Counsel’s application for an award

   of attorneys’ fees in the Action, as well as for reimbursement of expenses incurred by my firm in

   connection with the Action.

          2.     From the onset of the litigation, Quinn Emanuel has been heavily involved in

   working with lead counsel and other members of the Plaintiffs’ Steering Committee to develop

   the case and assess and implement effective litigation strategy. For example, Quinn Emanuel

   took a lead role in successfully moving before the Judicial Panel on Multidistrict Litigation

   (“JPML”) to have the original cases consolidated in a multidistrict action and transferred to the

   District of New Jersey. And following the consolidation and transfer to the District of New

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   Jersey, Quinn Emanuel assisted in drafting the Consolidated Amended Complaint. This required

   significant pre-complaint investigation, including reviewing initial documentary materials made

   available to the direct purchaser plaintiffs’ counsel by Defendant General Chemical, among

   others.

             3.   Quinn Emanuel took the lead in researching, drafting, revising, and finalizing the

   successful oppositions to the motions to dismiss filed by Defendants GEO Specialty Chemicals

   (“GEO”) and General Chemical. We also assisted in the successful opposition to the motions to

   dismiss filed by Defendants USALCO, Southern Ionics, and C&S Chemicals.

             4.   Quinn Emanuel also took the lead role in researching, drafting, revising and

   finalizing the successful opposition to GEO’s motions in the Bankruptcy Court to reopen and

   enforce that Court’s previous bankruptcy discharges so as to preclude or limit the claims in this

   Action. Quinn Emanuel partner Eric Winston, a bankruptcy litigation specialist, prepared for

   oral argument on the motions and presented the arguments to the Bankruptcy Court. Following

   oral argument, on December 4, 2017, the Bankruptcy Court denied GEO’s motions, resulting in

   an 84-page opinion in Plaintiffs’ favor.

             5.   Throughout the discovery process, Quinn Emanuel has been heavily involved in

   negotiating with Defendants GEO and General Chemical on issues pertaining to the production

   of transactional data.   The negotiations and discussions surrounding these data issues took

   months and involved numerous meet-and-confers, written letters and emails, and other

   communications with Defendants in order to understand the systems where Defendants stored

   their data, what types of data were kept on those systems, and the availability of that data. It

   further involved negotiating with Defendants as to what types of data they would produce.

   These negotiations were complex, and required considerable time and attention.



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          6.      Named plaintiff SUEZ is Quinn Emanuel’s client and thus Quinn Emanuel has

   been the primary point of contact in liaising with SUEZ on a variety of issues. This has included

   phone calls and written communications regarding SUEZ’s discovery obligations, meetings and

   teleconferences related to document collection, and the review of SUEZ’s documents. It has also

   entailed discussions regarding developments in the action, including the settlement with GEO,

   among other issues.

          7.      Quinn Emanuel has also taken a lead role in coordinating with Plaintiffs’

   consulting experts to analyze the documents and data produced by Defendants for the purposes

   of class certification and liability. These ongoing efforts have been time-consuming given the

   importance of economic and statistical evidence of collusion in cases such as this. I have taken a

   lead role in this work with and related to the experts.

          8.      Particularly relevant at this juncture, Quinn Emanuel was instrumental in reaching

   the Settlement Agreement with GEO. Stephen Neuwirth of Quinn Emanuel joined lead counsel,

   James Cecchi, in leading the negotiations for the direct purchaser plaintiffs. This included

   participation both in formal mediation sessions and more informal negotiations with GEO

   outside the presence of the mediator. Moreover, Quinn Emanuel bankruptcy litigation partner

   Eric Winston worked with GEO’s creditors to develop a creative, innovative framework for

   maximizing the value of the settlement to the direct purchaser plaintiffs, by establishing an

   opportunity for the plaintiffs to share in the proceeds of a contemplated sale of GEO. Mr.

   Winston participated in many discussions in person and by phone with GEO and its creditors,

   and Mr. Neuwirth joined Mr. Winston in many of those discussions. Furthermore, because GEO

   suggested it would only be prepared to settle if it could achieve complete peace with all plaintiff

   groups in the pending multidistrict litigation (that is, not only the direct purchaser plaintiffs, but


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   also the indirect purchaser plaintiffs and the direct action plaintiffs), Mr. Neuwirth worked with

   Mr. Cecchi over many weeks to incorporate the indirect purchaser plaintiffs and the direct action

   plaintiffs into the overall settlement. This involved many phone calls and several in-person

   meetings.

          9.      The schedule attached hereto as Exhibit 1 is a summary indicating the amount of

   time spent by each attorney and professional support staff employee of Quinn Emanuel who was

   involved in the Action, and the lodestar calculation based on my firm’s current billing rates. For

   personnel who are no longer employed by my firm, the lodestar calculation is based upon the

   billing rates for such personnel in his or her final year of employment by my firm. The schedule

   was prepared from contemporaneous daily time records regularly prepared and maintained by

   my firm, which are available upon request for review by the Court. Time expended in preparing

   this application for fees and reimbursement of expenses has not been included in this request.

          10.     The hourly rates for the attorneys and professional support staff in my firm

   included in Exhibit 1 are the same as the regular rates that would be charged for their services in

   non-contingent matters and/or which have been accepted in other class action litigation.

          11.     The total number of hours expended on this Action by Quinn Emanuel through

   the end of August 2018 is 3,712.88.          The total lodestar for my firm for that period is

   $2,985,170.70, consisting of $ 2,956,443.70 for attorneys’ time, including non-partnership track

   staff attorneys, and $28,727.00 for professional support staff time.

          12.     My firm’s lodestar figures are based upon the firm’s billing rates, which rates do

   not include charges for expense items. Expense items are billed separately and such charges are

   not duplicated in my firm’s billing rates.




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          13.     As detailed in the schedule attached hereto as Exhibit 2, through August 2018

   Quinn Emanuel has incurred a total of $281,239.45 in unreimbursed expenses in connection with

   the prosecution of this Action.

          14.     The expenses incurred in this Action are reflected on the books and records of

   Quinn Emanuel. These books and records are prepared from expense vouchers, check records

   and other source materials and are an accurate record of the expenses incurred.

          15.     With respect to Quinn Emanuel’s standing, attached hereto as Exhibit 3 is a brief

   biography of the firm and biographies of the Quinn Emanuel partners who have been principally

   involved in this Action.



          I hereby declare under penalty of perjury that the foregoing facts are true and correct.




                                                                     Sami H. Rashid
   Dated: September 15, 2018




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                                Exhibit 1
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          In re Liquid Alumuinim Sulfate Antitrust Litig.
          Quinn Emanuel Urguhart & Sullivan, LLP

          Last Name, First Name                         Total        Hourly Rate     Cumulative
                                                        Hours                         Lodetsar
                           ATTORNEYS
          Neuwirth, Stephen R.                              266.00   $   1,375.00   $   365,750.00
          Winston, Eric D.                                  208.30   $   1,090.00   $   227,047.00
          Rashid, Sami H.                                   906.08   $     940.00   $   851,715.20
          Peck, Julia J.                                    1.00     $     920.00   $       920.00
          Emily M. Smith                                   10.30     $     765.00   $     7,879.50
          Schmidt, Margaret                               576.50     $     745.00   $   429,492.50
          Beattie, Todd                                   218.90     $     745.00   $   163,080.50
          Volpe, John                                   1,275.20     $     670.00   $   854,384.00
          Diana Peng                                        3.20     $     350.00   $     1,120.00
          James Harris                                     77.90     $     350.00   $    27,265.00
          Isabelle Foucard                                 50.60     $     350.00   $    17,710.00
          Gene Ming Lee                                     8.00     $     350.00   $     2,800.00
          Rashad Chambers                                  20.80     $     350.00   $     7,280.00

          TOTAL ATTORNEYS                               3,622.78                    $ 2,956,443.70

                          PARALEGALS
          Michael Guerrero                                   88.60   $    320.00    $    28,352.00

                    LITIGATION SUPPORT
          James Bandes                                       1.50    $    250.00    $      375.00



          TOTAL STAFF                                       90.10                   $   28,727.00


          TOTALS:                                       3,712.88                    $ 2,985,170.70
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                                Exhibit 2
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In Re Liquid Aluminum Sulfate Antitrust Litigation Monthly Expense Report

FIRM NAME: QUINN EMANUEL URQUHART & SULLIVAN, LLP
REPORTING PERIOD: Entire period through August 2018


EXPENSE SUMMARY:
                                                                                                                        RECEIPT PROVIDED:
                  CATEGORY                                                  DESCRIPTION           AMOUNT            YES/NO (If No, Provide Reason)
Litigation Assessment
Federal Express/Local Courier, etc.                                                                              Yes
Postage Charges                                                                                                  No - Internal Soft Cost
Facsimile Charges
Long Distance                                                                                                    Yes - External Conf. Calls
In-house Photocopying                                                                                            No - Internal Soft Cost
Outside Photocopying
Hotels
Meals                                                                                                            Yes
Mileage
Air Travel                                                                                                       Yes
Deposition Costs
Lexis/Westlaw                                                                                                    Yes
Court Fees                                                                                                       Yes
Witness/Expert Fees                                                                                              Yes
Investigation Fees/Service Fees
Transcripts
Ground Transportation (i.e., Rental, Taxis, etc)                                                                 Yes
Miscellaneous (Describe)                                                                                         No - Internal Soft Cost
TOTAL EXPENSES                                                                                    $281,239.50


EXPENSE DETAIL:
                                                                                                                        RECEIPT PROVIDED:
                     CATEGORY                                               DESCRIPTION           AMOUNT            YES/NO (If No, Provide Reason)
Air Travel Total                                                                                      5,895.92
Court Fees Total                                                                                        512.00
Federal Express/Local Courier, etc. Total                                                               108.93
Ground Transportation (i.e., Rental, Taxis, etc) Total                                                3,660.99
In-house Photocopying Total                                                                           1,664.46
Investigation Fees/Service Fees Total                                                               251,542.00
Lexis/Westlaw Total                                                                                  13,578.10
Long Distance Total                                                                                     438.77
Meals Total                                                                                           1,207.19
Miscellaneous (Describe) Total                                                                        2,628.49
Postage Charges Total                                                                                     2.60
Grand Total                                                                                         281,239.45
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                               Exhibit 3
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                                          Firm Overview
  Quinn Emanuel Urquhart & Sullivan, LLP was founded in 1986 in Los Angeles. Since that time,
  the firm has become the largest law firm in the world dedicated solely to business disputes.
  Quinn Emanuel now has 780+ attorneys and offices in Boston, Brussels, Chicago, Hamburg,
  Hong Kong, Houston, London, Los Angeles, Mannheim, Munich, New York, Paris, Perth, San
  Francisco, Seattle, Shanghai, Silicon Valley, Stuttgart, Sydney, Tokyo, Washington, D.C., and
  Zurich.

  We understand that Quinn Emanuel tries more major business cases than any other law firm. At
  least once each year, the firm is in a trial or an arbitration pursuing or defending against a claim
  for over $1 billion in damages. Quinn Emanuel partners have tried over 2,645 trials and
  arbitrations and won 88% of them.

                                    Awards and Accolades
  Quinn Emanuel’s excellence has been repeatedly recognized and awarded. For example:

     The American Lawyer twice ranked Quinn Emanuel among the top six business litigation
      departments in the U.S. and has named us the top IP department in the country.

     Quinn Emanuel has been repeatedly selected for The National Law Journal’s “Plaintiffs’ Hot
      List.”

     Quinn Emanuel was named a finalist for The Recorder’s 2016 Litigation Department of the
      Year award.

     In 2016, Quinn Emanuel was named a “Litigation Powerhouse” and one of the top three
      firms for litigation by Law360.

     The Firm was shortlisted for “US Law Firm of The Year” by Legal Business 2018.

     Quinn Emanuel has been named one of the “four firms in-house counsel fear the most” four
      times since 2010. The “Fearsome Foursome” are selected based on BTI Consulting Group’s
      recent survey of over 300 General Counsel, Chief Legal Officers, and other legal decision
      makers at major corporations.

     The 2019 edition of Best Lawyers USA has selected our attorneys for recognition in such
      practice areas as Antitrust Law and Antitrust Litigation.

     The Legal 500 United States 2018 has recommended the firm as a Top-Tier Firm in seven
      practice areas, and is recommended in a further 16 practice areas. In addition, Stephen
      Neuwirth was listed as an elite “Leading Lawyer.”
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                                     Success for Plaintiffs
  When representing plaintiffs, our lawyers have won over $60 billion in judgments and
  settlements, $28 billion of which was recovered in a recent two-year period. Along the way, we
  have obtained five 9-figure jury verdicts, thirty-four 9-figure settlements, and fifteen 10-figure
  settlements.

  We have the expertise and resources to prosecute any case, from complex technical patent cases
  to the world’s most sophisticated financial frauds or conspiracies that violate the antitrust laws.
  And our experience defending major companies allows us to see the big picture when
  representing plaintiffs—a significant edge over firms that confine their practice to representing
  plaintiffs. It allows us to fully understand the mechanics of businesses, complex financial deals
  and technologies, and ensure that we are able to deliver the same quality demanded by Fortune
  100 companies when litigating against them.

                                       Antitrust Practice
  Quinn Emanuel is uniquely qualified to assist companies, either as plaintiffs or defendants, in
  dealing with antitrust and competition disputes across the globe. Quinn Emanuel is one of the
  only top tier law firms that regularly represent companies both as plaintiffs and defendants. Our
  work representing both plaintiffs and defendants has made us more effective advocates in either
  context. We can bring to bear our unique insight into the plaintiffs’ and defendants’ bar.

  Quinn Emanuel’s talented and deep antitrust bench has generated extraordinary results. When
  acting for plaintiffs, we have achieved unparalleled recoveries. In recent years, Quinn Emanuel
  has, for example:

        achieved over $430 million in settlements as court-appointed co-lead counsel for the
         direct purchaser plaintiff class in In re Flexible Polyurethane Foam Antitrust Litigation
         (N.D. Ohio);
        secured approximately $1.9 billion settlements for the class in the In re Credit Default
         Swaps Antitrust Litigation (E.D.N.Y.);
        won perhaps the most significant antitrust jury trial of recent years, defeating Rambus’
         multibillion dollar claims against our client Micron, even after Micron had admitted guilt
         for price fixing in connection with the government’s amnesty program;
        secured settlements for plaintiffs of $130 million cash, along with conduct changes
         valued at hundreds of millions of dollars more, as co-lead plaintiffs’ counsel in the
         antitrust class action litigation concerning credit cards used at truck stops (E.D. Pa.);
        secured $110 million for Songkick in a lawsuit alleging that Ticketmaster and its parent
         corporation, Live Nation, illegally monopolized and attempted to monopolize the market
         for artist presale ticketing services in the United States; and
        obtained dismissal for Mattel of a Sherman Act suit brought by a competitor seeking $1
         billion in alleged compensatory damages.

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                                 E-mail: stephenneuwirth@quinnemanuel.com


     Stephen Neuwirth, one of the leading antitrust attorneys in the United States, chairs Quinn
     Emanuel’s worldwide Antitrust and Competition Law practice. He has been recognized by
     Law360 in 2017 as one of just five antitrust "MVPs" nationwide, by Corporate LiveWire in
     2016 as U.S. Antitrust and Competition Lawyer of the Year, by the National Law Journal in
     2015 as an Antitrust “Trailblazer,” and by Law360 in 2014 as a “Titan of the Plaintiffs’ Bar.”
     Chambers USA has described Mr. Neuwirth as “renowned for his deep understanding of
     corporate transactions and antitrust matters” and “recognized as a ’leading light’ for his
     plaintiffs’ work.” Mr. Neuwirth has also been ranked a Non-IP Litigation Star by LMG Life
     Sciences 2017.
     In 2014-2015 alone, Mr. Neuwirth has achieved over $800 million in recoveries when
     representing plaintiffs. But Mr. Neuwirth is also one of the rare attorneys with a blue chip
     practice on both sides of the “v.”, also representing defendants in some of the most
     important litigation in the nation. In recent years, for example, Mr. Neuwirth has on three
     occasions achieved voluntary dismissal of class action antitrust claims against Quinn
     Emanuel clients – in each instance without the clients having to make any monetary
     payment. In addition, Mr. Neuwirth also has been active in sports law matters, including
     recent representations of the Washington Nationals Baseball Club in litigation against the
     Baltimore Orioles concerning fees for television broadcast of Nationals games, and of
     Madison Square Garden and the New York Rangers in defense of federal antitrust claims
     alleging that the National Hockey League and other parties colluded to fix prices for
     television and internet broadcast of NHL games. Mr. Neuwirth has also handled major
     matters for Mexican companies with U.S. claims, including representation of Grupo
     Televisa, the world’s largest Spanish-language media company, in U.S. litigation successfully
     enjoining JP Morgan’s effort to transfer, to a bank controlled by Televisa competitor Carlos
     Slim, most of a $300 million dollar loan that JP Morgan had made to Televisa’s cable
     television business.
     Mr. Neuwirth brings to bear almost three decades of experience in private practice and
     government, including serving as Associate White House Counsel to President Clinton from
     1993-1996. In 1998, the U.S. Department of Justice retained Mr. Neuwirth to assist in the
     Antitrust Division’s litigation against Microsoft Corporation.



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     REPRESENTATIVE CLIENTS
     Barnes & Noble, Inc.
     FEMSA
     Grupo Televisa
     Harley Davidson, Inc.
     The Home Depot
     Honeywell International, Inc.
     IBM Corporation
     Madison Square Garden
     Olin Corporation
     Unisys Corporation
     Washington Nationals Baseball Club


     NOTABLE REPRESENTATIONS
     As lead counsel for Mexico's Grupo Televisa, the world's largest Spanish-language media
     company, won federal preliminary injunction blocking JPMorgan from transferring to a
     Televisa competitor a $200 million interest in a loan JPMorgan had made to Televisa's cable
     television business.

     Co-lead counsel for Barnes & Noble, Inc., in defense of state and federal derivative actions
     concerning the company’s stock option practices, and related matters.

     Lead counsel for Mexico’s Grupo Televisa in its successful Eleventh Circuit appeal of a
     district court ruling that had dismissed Televisa’s tortious interference with contract claims
     against rival Telemundo Communications, Inc.; a unanimous panel of the Eleventh Circuit
     ruled that Televisa could pursue both damages and punitive damages under Florida law.

     Lead counsel for IBM in its successful defense of class action antitrust claims.

     Lead trial and appellate counsel for FEMSA, which obtained a preliminary injunction,
     upheld by the U.S. Court of Appeals for the Second Circuit, blocking a proposed $300
     million transaction by the U.S. joint venture partner of FEMSA’s U.S. subsidiary.

     As court-appoint co-lead counsel for plaintiffs, won certification of a nationwide class of
     direct purchasers of flexible polyurethane foam (used in furniture, bedding and carpet
     underlay, among other things), in federal multidistrict litigation alleged that the major
     polyurethane foam manufacturers conspired to fix prices.

     For Honeywell International, won dismissal of all claims by a disgruntled former distributor
     that sued in federal court.



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     Secured voluntary dismissal of all claims against client Rabobank in the federal multidistrict
     litigation alleging a bid-rigging conspiracy in the market for municipal derivatives.


     EDUCATION
     Yale Law School
     (J.D., 1987)

     Yale College
     (B.S., summa cum laude, Phi Beta Kappa, 1984)


     PRIOR ASSOCIATIONS
     Boies, Schiller & Flexner:
        Partner, 1997-2005

     Associate White House Counsel to the President of the United States, 1993-1996

     Wachtell, Lipton, Rosen & Katz:
       Associate, 1988-1993

     Law Clerk to the Hon. Peter K. Leisure:
            United States District Judge for the Southern District of New York, 1987-1988


     ADMISSIONS
     The State Bar of New York
     Supreme Court of the United States
     United States Court of Appeals:
        District of Columbia Circuit
        Second Circuit
        Third Circuit
        Fourth Circuit
        Sixth Circuit
        Ninth Circuit
        Tenth Circuit
        Eleventh Circuit
     United States District Court:
        Southern District of New York
        Eastern District of New York




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                                                                        Page   ID #:217
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                               SAMI H. RASHID
                               Partner
                               New York
                               Tel: +1 (212) 849-7237
                               Fax: +1 (212) 849-7100
                               E-mail: samirashid@quinnemanuel.com


  Sami H. Rashid is a partner in the firm’s New York office. Sami has extensive experience representing
  both corporate plaintiffs and defendants in antitrust and other complex commercial litigation, including
  class actions. Sami has also represented companies in numerous fraud and breach of contract cases. In
  addition to his strong commercial litigation expertise, Sami served as a policy and legal officer for the
  United Nations in Amman, Jordan from 2014-2015.

  Sami received his J.D, cum laude, from New York University School of Law in 2005.


  REPRESENTATIVE CLIENTS
  Fédération Internationale de Football Association (FIFA)
  IBM
  Olin Corporation
  Pulse Network LLC
  SUEZ North America


  NOTABLE REPRESENTATIONS
  Currently serving as co-lead counsel for investors alleging manipulation of the London Gold Fixing, an
  international pricing benchmark for gold, by several major banks.

  Currently representing debit card network in an antitrust suit against rival network.

  Currently representing major private water company in antitrust class action against chemical
  manufacturers.

  Successfully represented Fédération Internationale de Football Association (FIFA) in antitrust and
  RICO class action in which plaintiffs sought hundreds of millions of dollars in damages. In 2016, Sami
  and other members of the team obtained dismissal of all claims against FIFA.
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  Part of trial team that successfully represented Solutia Inc. in an action for specific performance of a $2
  billion exit financing facility that had been guaranteed by certain banks, with the case settling favorably
  on the eve of closing arguments.


  EDUCATION

  New York University School of Law
  (J.D., cum laude, 2005)

  University of London (School of Oriental and African Studies)
  (M.A., with distinction, Chinese Studies, 2002)

  Cornell University
  (B.A., Government, 1998)



  PRIOR ASSOCIATIONS
  Shearman & Sterling LLP:
        Associate, 2005-2007

  United Nations Relief and Works Agency:
         Legal/Policy Officer, 2014-2015


  ADMISSIONS
  The State Bar of New York
  United States District Courts:
         Southern District of New York
         Eastern District of New York




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                                ERIC WINSTON
                                Partner
                                Los Angeles Office
                                Tel: +1 (213) 443-3620
                                Fax: +1 (213) 443-3100
                                E-mail: ericwinston@quinnemanuel.com


  Mr. Winston's practice includes all areas of corporate insolvency and reorganization and insolvency
  and valuation related litigation. He has represented debtors, creditors’ committees, secured lenders,
  bondholders, distressed debt traders, intellectual property counterparties, trade creditors, and asset
  acquirers, across numerous industries, out of court and in connection with chapter 9, chapter 11,
  chapter 15, SIPA, and SEC receivership cases. Mr. Winston also routinely advises hedge funds and
  other investors in distressed companies with respect to indentures, credit agreements and other
  capital structure and corporate governance issues.

  Recent representative cases include Core Media (AOG Entertainment), SandRidge Exploration, Circuit
  City, Relativity Media, Gaming & Leisure Properties/Cannery Casino, Lehman Brothers Holdings, Bernard L.
  Madoff Investment Securities/Fairfield Sentry, Residential Capital, Town of Mammoth Lakes, Eastman Kodak,
  Station Casinos, SemGroup, Fontainebleau Las Vegas, and SK Foods.

  Mr. Winston frequently speaks at panels and conferences around the country and has guest lectured
  at Loyola and University of Southern California law schools. He has written several law review
  articles, co-authored a chapter, is the LEXIS practice advisor on claims trading, and has been a
  member of the State Bar of California Insolvency Law Committee and the United States District
  Court for the Central District of California Attorney Discipline Committee.


  REPRESENTATIVE CLIENTS
  Exide Technologies, Inc.
  Counsel to Official Committee of Unsecured Creditors

  Residential Capital, LLC et al.
  Counsel to securities litigation claimant and member of Official Committee of Unsecured Creditors

  Lehman Brothers Holdings Inc., et al.
  Conflicts Counsel to Official Committee of Unsecured Creditors

  Fairfield Sentry, Ltd./Bernard L. Madoff Investment Securities
  Counsel to fund that acquired the rights associated with Fairfield Sentry’s customer claim
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  Town of Mammoth Lakes
  Counsel to municipality’s largest general unsecured creditor

  Zais Investment Grade VII, Ltd.
  Counsel to second tranche noteholder

  SemGroup L.P., et al.
  Counsel to Official Committee of Unsecured Creditors and Litigation Trust

  Stations Casinos Inc., et al.
  Conflicts Counsel to Official Committee of Unsecured Creditors

  Fontainebleu Las Vegas, et al.
  Counsel to significant secured term creditor

  SK Foods
  Counsel to holders of allowed eight-figure class action claim

  Adelphia Communications Corporation, et al
  Represented City of Santa Monica

  Azabu Buildings Company, Ltd.
  Counsel to Official Committee of Unsecured Creditors and Azabu Liquidating Trust

  Butler Manufacturing Company
  Represented company in out of court restructuring

  Controlled Power Corporation of Ohio, et al
  Counsel to debtor in possession lender and asset acquirer

  Enron Corporation, et al.
  Counsel to significant holders of unsecured claims

  Eurofresh, Inc., et al.
  Counsel to holders of majority of senior unsecured notes

  Hawaiian Airlines, Inc.
  Represented co-plan proponent and reorganized airline

  O'Sullivan Industries
  Counsel to Official Committee of Unsecured Creditors

  Gaming & Leisure Properties, Inc. v. Cannery Casino Resorts, LLC, et al.
  Counsel to plaintiff in Material Adverse Effect litigation in New York state court

  SuperGuide v. Gemstar Development
  Counsel to defendant in federal district court action



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  NOTABLE REPRESENTATIONS
  In the Town of Mammoth Lakes chapter 9 case in the United States Bankruptcy Court for the Eastern
  District of California, represented the municipality’s single largest general unsecured creditor, Eric
  successfully negotiated a settlement and dismissal of the chapter 9 case that increased the client’s
  payment stream from less than $5 million to in excess of $46 million.

  Eric led Quinn Emanuel’s team in successfully blocking confirmation of a plan of reorganization
  proposed by senior noteholders and negotiated a settlement via a consensual plan of reorganization
  that resulted in a multi-million dollar recovery to second tranche noteholders in the Zais Investment
  chapter 11 case, the first time a CDO was the subject of a United States bankruptcy proceeding.

  In the Azabu Building chapter 11 case, which involved nearly $8 billion in asserted unsecured claims
  and parallel bankruptcy proceedings in the United States and Japan, Eric was one of the lead
  attorneys representing the Official Committee of Unsecured Creditors and the Azabu Liquidating
  Trust. Eric worked closely with the debtor’s counsel in persuading the Bankruptcy Court to confirm
  over multiple objections a joint plan of reorganization that resulted in a tax efficient transaction in
  excess of $410 million. In addition, Eric led the prosecution of several ground-breaking adversary
  proceedings, all of which were settled favorably before trial. One concerned the assertion against a
  Japanese bank of claims of equitable subordination and avoidance of fraudulent transfers concerning
  hundreds of millions of dollars. The defendants agreed to release liens on property valued in excess
  of $20 million, waiving nearly $200 million in claims, and paying the estate over $10 million cash.
  Another concerned the estate’s efforts to equitably subordination over $1 billion in claims held by
  alleged insiders of the debtor; this matter was settled with the defendants agreeing to the
  disallowance of over 90% of their claims.

  Eric represented several hedge funds holding billions of dollars in claims in the Enron bankruptcy;
  he drafted numerous briefs, including objections to plan confirmation and objections to the
  settlement with one of the “mega claim” defendants. He appeared in court numerous times,
  deposed several witnesses in connection with plan confirmation, and led the “Schedule S”
  intercreditor litigation; Eric’s clients obtained substantial returns as the result of a favorable ruling
  that eliminated hundreds of millions of dollars in claims that had been incorrectly scheduled as
  benefiting from contractual subordination. In re Enron Corp., 370 B.R. 64 (Bankr. S.D.N.Y. 2007).


  EDUCATION
  University of California, Los Angeles School of Law
  (J.D., 1998)
          UCLA Journal of Environmental Law & Policy:
                 Managing Editor, 1997-1998
          Extern to the United States Department of Justice, Civil Rights Division

  University of California, Berkeley
  (B.A., Political Science, high honors, 1995)




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                                                                        Page   ID #:222
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  AWARDS
  Ranked in California Bankruptcy/Restructuring Litigation, Chambers USA 2013-2015

  Recommended Lawyer by The Legal 500 (2013)

  Twice named by Turnarounds & Workouts as among the “Outstanding Young Restructuring
  Lawyers” (nationally, from all bankruptcy practitioners under the age of 40, in 2005 and 2012)

  Recognized as a “Rising Star” by Thomson Reuters Super Lawyers from 2004-2013

  Recognized by Thomson Reuters Super Lawyers as a “Super Lawyer for Bankruptcy” in 2014-2016



  PUBLICATIONS AND LECTURES
  “A Close Look At Special Cases Of Bankruptcy Claims Trade ,” Law360 (January 29, 2014)

  “Disclosure And Proof-Of-Claim Issues For Claim Buyers,” Law360 (January 22, 2014)

  “Pointers In Bankruptcy Claims Trading,” Law360 (January 15, 2014)

  “Understanding The Reasons Traders Buy Bankruptcy Claims,” Law360 (January 8, 2014)

  Co-author, Chapter 16 “Value-Oriented Discovery,” Contested Valuation in Corporate Bankruptcy (2011)

  Co-author, "Sizing Up The 'Cap' - Commercial Lease Rejection Claims In Bankruptcy,"
  27 Cal. Bankr. J. 209 (2004)

  Co-author, "State Defiance of Bankruptcy Law,"
  52 Vand. L. Rev. 1527 (2000)

  Guest Lecturer, Bankruptcy and Corporate Reorganization,
  Loyola Law School

  Guest Lecturer, Bankruptcy and Corporate Reorganization,
  University of Southern California, Gould School of Law

  Panelist, numerous corporate and insolvency organizations




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  PRIOR ASSOCIATIONS
  Stutman Treister & Glatt:
      Shareholder, 2004-2009
      Associate, 1999-2004

  Law Clerk to the Hon. William J. Holloway, Jr.:
     United States Court of Appeals for the Tenth Circuit, 1998-1999


  PROFESSIONAL ACTIVITIES
  Member, American Bar Association

  Co-vice Chair of the Insolvency Law Committee, The State Bar of California (2008 – 2009)

  Member, Los Angeles County Bar Association

  Member, Association of Insolvency and Restructuring Advisors (AIRA)

  Member, Financial Lawyers Conference

  Member, International Association of Restructuring, Insolvency & Bankruptcy Professionals


  ADMISSIONS
  The State Bar of California
  United States Court of Appeals:
     Second Circuit
     Third Circuit
     Fifth Circuit
     Ninth Circuit
     Tenth Circuit
  United States District Court:
     Central District of California
     Eastern District of California
     Northern District of California
     Southern District of California




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  James C. Tecce
  William Pugh
  Jordan Harap
  QUINN EMANUEL URQUHART & SULLIVAN, LLP
  51 Madison Avenue, 22nd Floor
  New York, New York 10010

  Special Litigation Counsel to William A. Brandt Jr.,
  Chapter 11 Trustee for CFG Peru Investments Pte. Ltd. (Singapore)

  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK
  ------------------------------------------------------------ x
  In re:                                                       :          Case No. 16-11895 (JLG)
                                                               :
  CHINA FISHERY GROUP LIMITED                                  :          Chapter 11 (Jointly Administered)
  (CAYMAN), et al.,                                            :
                                                               :
                                      Debtors.1                :
  ------------------------------------------------------------ x
  In re:                                                       :          Case No. 16-11914 (JLG)
                                                               :
  CFG PERU INVESTMENTS PTE. LTD.                               :          Chapter 11
  (SINGAPORE),                                                 :
                                                               :
                                      Debtor.                  :
  ------------------------------------------------------------ x

      SUMMARY OF FIFTH CONSOLIDATED MONTHLY APPLICATION OF QUINN
          EMANUEL URQUHART & SULLIVAN, LLP, FOR ALLOWANCE
            OF COMPENSATION FOR SERVICES RENDERED AND FOR
           REIMBURSEMENT OF EXPENSES INCURRED DURING THE
           PERIOD OF JANUARY 1, 2018 THROUGH FEBRUARY 28, 2018




  1
          The Debtors are China Fishery Group Limited (Cayman), Pacific Andes International Holdings Limited (Bermuda),
          N.S. Hong Investment (BVI) Limited, South Pacific Shipping Agency Limited (BVI), China Fisheries International
          Limited (Samoa), CFGL (Singapore) Private Limited, Chanery Investment Inc. (BVI), Champion Maritime Limited
          (BVI), Growing Management Limited (BVI), Target Shipping Limited (HK), Fortress Agents Limited (BVI), Ocean
          Expert International Limited (BVI), Protein Trading Limited (Samoa), CFG Peru Investments Pte. Limited (Singapore),
          Smart Group Limited (Cayman), and Super Investment Limited (Cayman); Pacific Andes Resources Development
          Limited (Bermuda), Nouvelle Foods International Ltd., Golden Target Pacific Limited, Pacific Andes International
          Holdings (BVI) Limited, Zhonggang Fisheries Limited, Admired Agents Limited, Chiksano Management Limited,
          Clamford Holding Limited, Excel Concept Limited, Gain Star Management Limited, Grand Success Investment
          (Singapore) Private Limited, Hill Cosmos International Limited, Loyal Mark Holdings Limited, Metro Island
          International Limited, Mission Excel International Limited, Natprop Investments Limited, Pioneer Logistics Limited,
          Sea Capital International Limited, Shine Bright Management Limited, Superb Choice International Limited, and
          Toyama Holdings Limited (BVI).
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  Name of Applicant:                                          Quinn Emanuel Urquhart & Sullivan, LLP
  Name of Client:                                             William A. Brandt, Jr., as Chapter 11 Trustee
                                                              for CFG Peru Investments Pte. Ltd. (Singapore)
  Time Period Covered by Application:                         January 1, 2018 through February 28, 2018
  Total Compensation Sought in This Application:              $234,560.80 (80% of $293,201.00)
  Total Expenses Sought in This Application                   $1,345.79
  Petition Date:                                              June 30, 2016
  Retention Date:                                             March 8, 2017 (Presentment Date), nunc pro
                                                              tunc to December 23, 2016
  Date of Order Approving Employment:                         March 16, 2017
  Total Compensation Approved by Interim Order to             $916,363.50
  Date:
  Total Expenses Approved by Interim Order to Date:           $27,363.50
  Total Allowed Compensation Paid to Date:                    $733,090.80 (80% of $916,363.50)
  Total Allowed Expenses Paid to Date:                        $27,363.50
  Blended Rate in This Application for All Attorneys:         $901.10
  Blended Rate in This Application for All                    $350.00
  Paraprofessionals:
  Blended Rate in This Application for All                    $898.56
  Timekeepers:
  Compensation Sought in This Application Already             $0.00
  Paid Pursuant to the Interim Compensation Order But
  Not Yet Allowed:
  Expenses Sought in This Application Already Paid            $0.00
  Pursuant to the Interim Compensation Order But Not
  Yet Allowed:
  Number of Professionals Included in this Application:       6
  If Applicable, Number of Professionals in This              N/A
  Application Not Included in Staffing Plan Approved
  by Client:
  If Applicable, Difference Between Fees & Expenses           N/A
  Budgeted and Compensation Sought for This
  Application Period:
  Number of Professionals Billing Fewer Than 15 Hours         3
  to the Case During This Period:
  Are Any Rates Higher Than Those Approved or                 Yes.2 The amount of compensation attributable
  Disclosed at Retention? If Yes, Calculate the Amount        to the rate increase is $7,156.50.
  of Compensation Attributable to Any Rate Increase:

  This is a(n) _monthlyinterimfinal application.


  2
         As disclosed in the engagement letter among the Trustee and Quinn Emanuel, dated December 23, 2016
         (the “Engagement Letter”), “associate rates are based on years out of law school, so annually on September
         1, their rates move up to the next higher class rate on [Quinn Emanuel’s] rate schedule. These ‘class
         graduation’ adjustments are not rate increases.” Application Of William A. Brandt, Jr., Chapter 11 Trustee
         for CFG Peru Investments Pte. Ltd. (Singapore), For Entry of an Order, Pursuant To §§ 327(a), 328(a)
         and 330, Authorizing Retention And Employment Of Quinn Emanuel Urquhart & Sullivan, LLP As Special
         Litigation Counsel Effective Nunc Pro Tunc To December 23, 2016 at Exhibit D [ECF No. 303 (Case No.
         16-11895)]. These “class graduation” adjustments took effect on September 1, 2017.

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    Date of this Application: August 15, 2018

    Additional summaries and disclosures follow and are incorporated into the Cover Sheet for this
    Application.

             Summary Of Professionals Included In This Consolidated Fee Application
                         (January 1, 2018 through February 28, 2018)




                       Comparable And Customary Compensation Disclosures
                              (January 1, 2018 through February 28, 2018)
                                                                    Blended Hourly Rate Billed
       Category of Timekeeper         Total Hours     Total Fees
                                                                       This Fee Application
    Partner                                   156.4 $164,868.00                       $1,054.14
    Of Counsel                                    3     $2,970.00                       $990.00
    Associate                                 162.3 $123,753.00                         $762.50
    Attorney                                    3.1     $1,085.00                       $350.00
    Paraprofessionals / Staff                   1.5       $525.00                       $350.00
    All Timekeepers Aggregated                326.3 $293,201.00                         $898.56

                     Summary Of Compensation Requested By Project Category
                          (January 1, 2018 through February 28, 2018)
Task Code                                                               Hours                           Amount
CF01 Case Administration                                                                   1.9         $1,076.00
CF02 Litigation                                                                         306.7        $278,902.50
CF03 Fee / Employment Applications                                                        17.2        $12,887.50
CF14 Asset Analysis and Recovery                                                           0.5          $335.00
                                                                             Total      326.3        $293,201.00



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                  Summary Of Expense Reimbursement Requested By Category
                        (January 1, 2018 through February 28, 2018)

Description                                                                     Amount
Online Research                                                                 $751.96
Document Reproduction                0.10                                       $339.70
Telephone                                                                         $4.49
Color Document Reproduction          0.35                                       $103.95
Word Processing                                                                  $57.00
Express Mail                                                                     $75.23
Postage                                                                           $4.06
PACER Services                                                                    $9.40

                                            Total Expenses                     $1,345.79




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  James C. Tecce
  William Pugh
  Jordan Harap
  QUINN EMANUEL URQUHART & SULLIVAN, LLP
  51 Madison Avenue, 22nd Floor
  New York, New York 10010

  Special Litigation Counsel to William A. Brandt Jr.,
  Chapter 11 Trustee for CFG Peru Investments Pte. Ltd. (Singapore)

  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK
  ------------------------------------------------------------ x
  In re:                                                       :          Case No. 16-11895 (JLG)
                                                               :
  CHINA FISHERY GROUP LIMITED                                  :          Chapter 11 (Jointly Administered)
  (CAYMAN), et al.,                                            :
                                                               :
                                      Debtors.1                :
  ------------------------------------------------------------ x
  In re:                                                       :          Case No. 16-11914 (JLG)
                                                               :
  CFG PERU INVESTMENTS PTE. LTD.                               :          Chapter 11
  (SINGAPORE),                                                 :
                                                               :
                                      Debtor.                  :
  ------------------------------------------------------------ x

         FIFTH CONSOLIDATED MONTHLY APPLICATION OF QUINN EMANUEL
       URQUHART & SULLIVAN, LLP, FOR ALLOWANCE OF COMPENSATION FOR
      SERVICES RENDERED AND FOR REIMBURSEMENT OF EXPENSES INCURRED
        DURING THE PERIOD OF JANUARY 1, 2018 THROUGH FEBRUARY 28, 2018




  1
          The Debtors are China Fishery Group Limited (Cayman), Pacific Andes International Holdings Limited (Bermuda),
          N.S. Hong Investment (BVI) Limited, South Pacific Shipping Agency Limited (BVI), China Fisheries International
          Limited (Samoa), CFGL (Singapore) Private Limited, Chanery Investment Inc. (BVI), Champion Maritime Limited
          (BVI), Growing Management Limited (BVI), Target Shipping Limited (HK), Fortress Agents Limited (BVI), Ocean
          Expert International Limited (BVI), Protein Trading Limited (Samoa), CFG Peru Investments Pte. Limited (Singapore),
          Smart Group Limited (Cayman), and Super Investment Limited (Cayman); Pacific Andes Resources Development
          Limited (Bermuda), Nouvelle Foods International Ltd., Golden Target Pacific Limited, Pacific Andes International
          Holdings (BVI) Limited, Zhonggang Fisheries Limited, Admired Agents Limited, Chiksano Management Limited,
          Clamford Holding Limited, Excel Concept Limited, Gain Star Management Limited, Grand Success Investment
          (Singapore) Private Limited, Hill Cosmos International Limited, Loyal Mark Holdings Limited, Metro Island
          International Limited, Mission Excel International Limited, Natprop Investments Limited, Pioneer Logistics Limited,
          Sea Capital International Limited, Shine Bright Management Limited, Superb Choice International Limited, and
          Toyama Holdings Limited (BVI).
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           Quinn Emanuel Urquhart & Sullivan, LLP (“Quinn Emanuel”), special litigation counsel

  to William A. Brandt, Jr., chapter 11 trustee (the “Trustee”) for CFG Peru Investments Pte. Ltd.

  (Singapore) (“CFG Peru”), makes its fifth monthly application (the “Application”) for allowance

  of compensation of $234,560.80 (80% of $293,201.00) and reimbursement of expenses of

  $1,345.79 for the period from January 1, 2018 through February 28, 2018 (the “Compensation

  Period”) in accordance with the Order Pursuant To Sections 105(a) and 331 of the Bankruptcy

  Code Establishing Procedures for Monthly Compensation and Reimbursement of Expenses of

  Professionals [ECF 199 (Case No. 16-11895)] (the “Interim Compensation Order”). In support

  of this Application, Quinn Emanuel respectfully represents as follows:

                  1.     Quinn Emanuel attorneys and paraprofessionals expended a total of 326.3

  hours during the Compensation Period for which compensation is requested.

                  2.     During the Compensation Period, Quinn Emanuel did not receive any

  payments or promises of payment from any other source for services rendered or to be rendered

  in any capacity whatsoever in connection with the matters covered by this Application. There is

  no agreement or understanding between Quinn Emanuel and any other person, other than

  partners of the firm, for sharing of compensation to be received for services rendered in these

  cases.

                  3.     The fees charged by Quinn Emanuel in these cases are billed in

  accordance with the firm’s existing billing rates and procedures in effect during the

  Compensation Period. Such fees are reasonable based on the customary billing rates charged by

  comparably skilled practitioners in comparable non-bankruptcy cases in a competitive national

  legal market.

                  4.     Attached hereto are (i) a schedule setting forth all Quinn Emanuel

  professionals and paraprofessionals who have performed services in these Chapter 11 Cases
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  during the Compensation Period, the capacities in which each individual is employed by Quinn

  Emanuel, the hourly billing rate charged by Quinn Emanuel for the services performed by such

  individual, the aggregate number of hours expended in these cases during the Compensation

  Period and fees billed therefor, and the year in which each professional was first licensed to

  practice law; (ii) a summary of services by billing category for services rendered by Quinn

  Emanuel during the Compensation Period; and (iii) a schedule setting forth the actual and

  necessary disbursements that Quinn Emanuel incurred during the Compensation Period in

  connection with the performance of professional services for the Trustee and for which it seeks

  reimbursement.

                5.     Quinn    Emanuel’s    itemized   time   records    for   professionals   and

  paraprofessionals performing services for the Trustee during the Compensation Period and

  Quinn Emanuel’s itemized records detailing expenses incurred on behalf of the Trustee during

  the Compensation Period are set forth in Exhibit A and Exhibit B, respectively. All itemized

  expenses comply with the requirements set forth in Local Rule 2016-1.

                6.     This Application complies with sections 330 and 331 of title 11 of the

  United States Code (the “Bankruptcy Code”), the Federal Rules of Bankruptcy Procedure (the

  “Bankruptcy Rules”), the Interim Compensation Order, the Guidelines for Reviewing

  Applications for Compensation and Reimbursement of Expenses by Attorneys in Larger Chapter

  11 Cases, effective November 1, 2013 (the “Guidelines”), and the Local Rules of Bankruptcy

  Practice and Procedure of the United States Bankruptcy Court for the Southern District of New

  York (the “Local Rules”).




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                                          BACKGROUND

                 7.       On June 30, 2016 (the “Petition Date”), the Debtors filed voluntary

  petitions for relief under Chapter 11 of the Bankruptcy Code. The Debtors’ cases are being

  jointly administered.

                 8.       To date, no creditors’ committee has been appointed in these Chapter 11

  Cases by the Office of the United States Trustee for the Southern District of New York (the

  “U.S. Trustee”).

                 9.       On August 9, 2016, Coöperatieve Rabobank U.A., Standard Chartered

  Bank (Hong Kong) Limited, and DBS Bank (Hong Kong), Limited filed the Club Lender

  Parties’ Motion for the Entry of an Order Directing the Appointment of a Chapter 11 Trustee

  Pursuant to 11 U.S.C. § 1104(a)(2) [ECF No. 57 (Case No. 16-11895)] seeking the appointment

  of a Chapter 11 trustee. The Court granted the motion on October 28, 2016 [ECF No. 203 (Case

  No. 16-11895)].

                 10.      On November 10, 2016, the U.S. Trustee sought approval of William A.

  Brandt, Jr. as Chapter 11 trustee of CFG Peru [ECF No. 218 (Case No. 16-11895)]. On that

  same date, the Court entered an Order appointing William A. Brandt, Jr. as Chapter 11 trustee for

  CFG Peru [ECF No. 219 (Case No. 16-11895)].

                 11.      On January 9, 2016, the Trustee filed the Application of William A. Brandt

  Jr., Chapter 11 Trustee for CFG Peru Investments Pte. Ltd. (Singapore), for Entry of an Order,

  Pursuant to 11 U.S.C. §§ 327(a), 328, 330, Authorizing Retention and Employment of Quinn

  Emanuel Urquhart & Sullivan, LLP, as Special Litigation Counsel Effective Nunc Pro Tunc To

  December 23, 2016 [ECF No. 303 (Case No. 16-11895)] (the “Retention Application”). On

  March 8, 2017, the Court held a hearing to consider the Retention Application and the limited

  objection [ECF No. 333 (Case No. 16-11895)] thereto filed by The Hongkong and Shanghai
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  Banking Corporation Limited (“HSBC”). On March 16, 2017, the Retention Application was

  granted nunc pro tunc to December 23, 2016 [(ECF No. 388 (Case No. 16-11895)].

                 12.     After retaining Quinn Emanuel, the Trustee instructed Quinn Emanuel to

  handle certain additional matters concerning the purchase and sale of claims arising under the

  Club Facility 2 (the “Club Facility Claims”) and specifically the actual or contemplated

  acquisition of Club Facility Claims by purchasers whose intent, with respect to collection efforts

  on those debt positions in Peru and against the Peruvian operating companies owned by CFG

  Peru, is yet unclear, or is to otherwise interfere with the Trustee’s restructuring efforts. Further,

  in November 2017, the Trustee instructed Quinn Emanuel to handle matters relating to certain

  foreign proceedings which may impact the sale process that is currently underway.

                 13.     In light of the scope of the Trustee’s engagement of Quinn Emanuel solely

  as “special litigation counsel” and not as general bankruptcy counsel, and the difficulty in

  projecting the anticipated services to be provided by Quinn Emanuel, a budget and staffing plan

  has not yet been developed.

                                      SUMMARY OF SERVICES

                 14.     The professional services performed by Quinn Emanuel were necessary

  and appropriate to the representation of the Trustee during these Chapter 11 Cases thus far.

  These services were in the best interests of the Trustee. The compensation requested is

  commensurate with the complexity and nature of the issues and tasks involved.




  2
         See Facility Agreement dated 20 March 2014 among CF Investments S.A.C., CFIL, and Corporacion
         Pesquera Inca S.A.C. as borrowers; Coöperatieve Centrale Raiffeisen-Boerenleenbank B.A. (a/k/a
         Rabobank International) Hong Kong Branch, BDS Bank (Hong Kong Limited), The Hongkong and
         Shanghai Banking Corporation Limited, Standard Chartered Bank (Hong Kong Limited), and China CITIC
         Bank International Limited as lenders; and Coöperatieve Centrale Raiffeisen-Boerenleenbank B.A., Hong
         Kong Branch as agent in respect of US$650,000,000 term and revolving credit facilities.
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                  15.      The following is a summary of the activities performed by Quinn Emanuel

  professionals and paraprofessionals during the Compensation Period, organized by project

  billing category.3

         CF02: Litigation—306.70 Hours—$278,902.50

                  16.       Quinn Emanuel was retained as special litigation counsel to review,

  among other things, the relationship between the Debtors and HSBC, and to assist the Trustee in

  pursuing discovery. Quinn Emanuel billed work in connection with this matter under Matter No.

  07428-00001.

                  17.      During the Compensation Period, Quinn Emanuel attorneys developed

  strategies relating to proceedings before the High Court of the Hong Kong Special

  Administrative Region Court of First Instance for leave to take copies of and to use the decisions

  of Deputy High Court Judge Kenneth Kwok, SC made in HCCW 367/2015 and HCCW

  368/2015 (collectively, the “HK Proceedings”) on or around 5 January 2016, and the reasons for

  his decision as recorded in a judgment handed down dated 17 March 2016, discharging three

  joint provisional liquidators previously appointed over China Fishery Group Limited and China

  Fishery International Limited. Quinn Emanuel attorneys also communicated and coordinated

  with the Trustee’s Hong Kong counsel and conducted related factual and legal research. Further,

  Quinn Emanuel attorneys reviewed a revised documents related to the HK Proceedings including

  the First Affidavit of William A. Brandt, Jr.

                  18.      On December 29, 2018, the United States District Court for the Southern

  District of New York issued an order and opinion [Dkt. 9 (Case No. 17-06672)] (the “District



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         The summary set forth below is qualified in its entirety by reference to the time and services detail attached
         hereto as Exhibit A.



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  Court Order”) denying the Motion in the Alternative of the Hongkong and Shanghai Banking

  Corporation Limited for Leave to Appeal the Bankruptcy Court’s July 19, 2017 Order

  Authorizing Rule 2004 Discovery [Dkt. 3 (Case No. 17-06672)]. During the Compensation

  Period, Quinn Emanuel attorneys reviewed the District Court Decision and considered its impact

  on the Trustee’s proposed litigation strategy in light of the decision by HSBC to appeal (the

  “Appeal”) the District Court Order to the United States Court of Appeals for the Second Circuit.

                19.     During the Compensation Period, Quinn Emanuel attorneys researched

  bases for dismissing the Appeal and drafted and filed the Motion, Pursuant to Fed. R. App. P. 2

  and 27, of Appellee William A. Brandt, Jr., Chapter 11 Trustee for CFG Peru Investments Pte.

  Ltd. (Singapore) for Summary Dismissal of Appeal for Lack of Jurisdiction [Dkt. 12 (Case No.

  18-0005)]. On January 22, 2018, HSBC filed the Appellant’s Opposition to Appellee’s Motion

  for Summary Dismissal of Appeal [Dkt. 26 (Case No. 18-0005)] (the “MTD Opposition”).

  During the Compensation Period, Quinn Emanuel attorneys reviewed the MTD Opposition and

  conducted additional research in connection with drafting and filing the Reply in Further Support

  of Trustee’s Motion, Pursuant to Fed. R. App. P. 2 and 27, for Summary Dismissal of Appeal for

  Lack of Jurisdiction [Dkt. 30 (Case No. 18-0005)].

                20.     Further, during the Compensation Period, Quinn Emanuel attorneys

  advised the Trustee on other currently pending foreign proceedings which may impact the sale

  process that is currently underway. Quinn Emanuel attorneys conducted related research and

  developed a proposed strategy regarding these foreign proceedings. Further, Quinn Emanuel

  attorneys drafted and filed the Motion of William A. Brandt, Jr., Chapter 11 Trustee for CFG

  Peru Investments PTE. Ltd. (Singapore), Pursuant to 11 U.S.C. §§ 105(a), 1505, 1525(b),

  1526(b), and 1572(2), for Entry of an Order Directing FTI Consulting and Joint and Several

  Liquidators to Provide Trustee with Notice of Applications Submitted to BVI Court [Dkt. 994
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  (Case No. 16-11895)]. Work performed in connection with those efforts is billed to the separate

  sub-matter number 07428-00001B.

         CF03: Fee/Employment Applications—17.20 Hours--$12,887.50

                 21.    During the Compensation Period, Quinn Emanuel attorneys prepared and

  filed the (i) Fourth Consolidated Monthly Application of Quinn Emanuel Urquhart & Sullivan,

  LLP, for Allowance of Compensation for Services Rendered and for Reimbursement of Expenses

  Incurred During the Period of October 1, 2017 Through December 31, 2017 [Dkt. No. 984 (case

  No. 16-11895)], and (ii) Second Interim Application of Quinn Emanuel Urquhart & Sullivan,

  LLP, Special Litigation Counsel to William A. Brandt, Jr., Chapter 11 Trustee for CFG Peru

  Investments PTE. Ltd. (Singapore), for Allowance of Compensation for Services Rendered and

  for Reimbursement of Expenses Incurred During the Period of July 1, 2017 Through October 31,

  2017 [Dkt. 985 (Case No. 16-11895)].

                 22.    During the Compensation Period, as part of Quinn Emanuel’s ongoing

  disclosures to the court, Quinn Emanuel attorneys prepared and filed the (i) Declaration of

  James C. Tecce Regarding Annual Rate Increase of Quinn Emanuel Urquhart & Sullivan LLP

  [Dkt. No. 974 (Case No. 16-11895)] (the “Rate Declaration”).

                        EXPENSES INCURRED BY QUINN EMANUEL

                 23.    Section 330 of the Bankruptcy Code authorizes “reimbursement for actual,

  necessary expenses” incurred by professionals employed in a chapter 11 case. Accordingly,

  Quinn Emanuel seeks reimbursement for expenses incurred in rendering services to the Trustee

  during the Compensation Period in the amount of $1,345.79. A schedule of the expenses is

  attached hereto as Exhibit B.

                 24.    Quinn Emanuel maintains the following policies with respect to expenses:



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                (a)       No amortization of the cost of any investment, equipment or capital outlay
                          is included in the expenses. In addition, for those items or services that
                          Quinn Emanuel purchased or contracted from a third party (such as
                          outside copy services), Quinn Emanuel seeks reimbursement only for the
                          exact amount billed to Quinn Emanuel by the third party vendor and paid
                          by Quinn Emanuel to the third party vendor.

                (b)       Standard photocopying by Quinn Emanuel was charged at 10 cents per
                          page.

                (c)       Outside photocopying, color or other specialized copies, outgoing
                          facsimile, long distance telephone charges, computer-accessed research,
                          and reimbursement for travel were billed at actual cost.

                               STATEMENT OF THE APPLICANT

                25.       Pursuant to Section C5 of the Guidelines, Quinn Emanuel makes the

  following statements:

                (a)       Quinn Emanuel has agreed to follow the Amended Guidelines for Fees
                          and Disbursements for Professionals in Southern District of New York
                          (the “S.D.N.Y. Guidelines”). Quinn Emanuel has reduced its standard
                          photocopy charge from $0.24 per page to the lesser of $0.10 per page or
                          cost. Where possible, all other expenses (e.g., legal research charges,
                          outside photocopying, long distance telephone charges, reimbursement for
                          travel, multi-party conference calls, color or other specialized copies) will
                          be billed at actual cost. Quinn Emanuel also will comply with the
                          Appendix B Guidelines with respect to billing for non-working travel
                          time.

                          Other than as set forth above, the hourly rates and corresponding rate
                          structure Quinn Emanuel will use in its representation of the Trustee in the
                          Chapter 11 Cases are the same as the hourly rates and corresponding rate
                          structure that Quinn Emanuel uses in other restructuring matters, as well
                          as similar complex matters whether in court or otherwise, regardless of
                          whether a fee application is required, and regardless of the location of the
                          chapter 11 case.

                (b)       None of the hourly rates of Quinn Emanuel’s professionals and
                          paraprofessionals included in this Application has been varied based on
                          the geographic location of these cases.

                (c)       This Application does not include any time or fees related to reviewing,
                          revising or preparing invoices.



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                  (d)      As set forth in the Rate Declaration, “[e]ffective January 1, 2018, Quinn
                           Emanuel has implemented firm-wide rate increases.” Rate Declaration at
                           2 (¶ 3). The Trustee consented to Quinn Emanuel’s annual and other
                           periodic rate increases so long as Quinn Emanuel charges its regular
                           hourly rates in effect at the time. Retention Application at 7–8 (¶ 27).4

                                                CONCLUSION

                  26.      The fees and expenses requested herein by Quinn Emanuel are billed in

  accordance with its existing billing rates and procedures in effect during the Compensation

  Period. Such fees are reasonable based on the customary compensation charged by comparably

  skilled practitioners in comparable nonbankruptcy cases in a competitive national legal market.

                  27.      No agreement or understanding exists between Quinn Emanuel or any

  third person for the sharing of compensation, except as allowed by section 504(b) of the

  Bankruptcy Code and Bankruptcy Rule 2016 with respect to the sharing of compensation

  between and among partners of Quinn Emanuel.

                  28.      All of the services for which compensation is requested hereunder were

  rendered at the request of and solely on behalf of the Trustee, and not on behalf of any other

  entity. In that regard, and incorporated herein by reference, the Certification of James C. Tecce

  in accordance with the Guidelines is attached hereto as Exhibit C.

                                                    NOTICE

                  29.      Quinn Emanuel shall serve this Application in accordance with the Interim

  Compensation Order and the Local Rules. Accordingly, notice of this Application shall be given

  by email or hand or overnight delivery on the following parties: (i) the Chapter 11 Trustee; (ii)

  the Debtors, Attn: Jessie Ng; team@pacificandes.com; (iii) Weil, Gotshal & Manges LLP, 767

  Fifth Avenue, New York, NY 10153-0119 (Atn: Matthew S. Barr, Esq., Marcia Goldstein, Esq.,

  4
         As set forth in the Engagement Letter, “associate rates are based on years out of law school, so annually on
         September 1, their rates move up to the next higher class rate on [Quinn Emanuel’s] rate schedule. These
         ‘class graduation’ adjustments are not rate increases.” Engagement Letter at 3.

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  and Gabriel A. Morgan, Esq.); (iv) Klesdadt Winters Jureller Southard & Stevens, LLP, 200

  West 41st Street, 17th Floor, New York, New York 10036 (Attn: Tracy L. Klestadt;

  tklesdadt@klestadt.com); (v) the U.S. Trustee, 201 Varick Street, Suite 10006, New York, NY

  10014 (Richard C. Morrissey; richard.morrissey@usdoj.gov); (vi) U.S. Counsel for Standard

  Chartered Bank (Hong Kong) Limited, Cooperatieve Rabobank, U.A., DBS Bank (Hong Kong)

  Limited; (vii) U.S. counsel to the ad hoc noteholders Committee; (viii) U.S. counsel to Bank of

  America N.A.; (ix) U.S. counsel for Malayan Banking Berhad, Hong Kong Branch; (x) U.S.

  counsel for Fredrich von Kaltenborn-Stachue; (xi) U.S. counsel for TMF Trustee Limited; (xii)

  U.S. counsel for CFG Investments S.A.C., Corporacion Pesquera Inca S.A.C. and Sustainable

  Fishing Resources S.A.C.; and (xiii) counsel to any official committee appointed in these chapter

  11 cases (each a “Notice Party” and collectively, the “Notice Parties”).

                 30.     Any objections to this Application must be served upon the Notice Parties,

  and by email or hand or overnight delivery upon: Quinn Emanuel Urquhart & Sullivan LLP, 51

  Madison Avenue, 22nd Floor, New York, NY 10010 (Attn: James Tecce; William Pugh; Jordan

  Harap) to be received no later than August 30, 2018 (prevailing Eastern Time) (the “Objection

  Deadline”), setting forth the nature of the objection and the specific amount of fees or expenses

  at issue.

                 31.     If no objections to the Application are received by the Objection Deadline,

  Quinn Emanuel is authorized to receive 80 percent of the fees and 100 percent of the expenses

  requested in this Application pursuant to the terms of the Interim Compensation Order.

                                      NO PRIOR REQUEST

                 32.     No prior request for the relief sought in this Application has been made to

  this or any other court.



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         WHEREFORE, Quinn Emanuel respectfully requests that, pursuant to the Interim

  Compensation Order, Quinn Emanuel is (i) allowed on an interim basis compensation of

  $234,560.80 (80% of $293,201.00) for services rendered during the Compensation Period; (ii)

  allowed on an interim basis reimbursement of expenses billed during the Compensation Period

  of $1,345.79; (iii) authorized to be paid its allowed fees and expenses for the Compensation

  Period; and (iv) granted such other and further relief as the Court may deem proper.

  Dated: August 15, 2018                       QUINN EMANUEL URQUHART
         New York, New York                    & SULLIVAN, LLP

                                         By: /s/ James C. Tecce
                                             James C. Tecce
                                             William Pugh
                                             Jordan Harap
                                             51 Madison Avenue, 22nd Floor
                                             New York, NY 10010
                                             (212) 849-7199
                                               Special Litigation Counsel to William A. Brandt Jr.,
                                               Chapter 11 Trustee for CFG Peru Investments Pte.
                                               Ltd. (Singapore)




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                       1   MANATT, PHELPS & PHILLIPS, LLP
                           ROBERT A. JACOBS (State Bar No. 160350)
                       2   E-mail: rjacobs@manatt.com
                       3   MAURA K. GIERL (State Bar No. 287430)
                           E-mail: mgierl@manatt.com
                       4   MOLLY K. WYLER (State Bar No. 299881)
                           11355 West Olympic Boulevard
                       5   Los Angeles, California 90064-1614
                       6   Telephone: (310) 312-4000
                           Facsimile: (310) 312-4224
                       7
                           Attorneys for Defendants
                       8   EMI APRIL MUSIC INC. and
                           EMI BLACKWOOD MUSIC INC.
                       9
                      10                        UNITED STATES DISTRICT COURT
                      11                      CENTRAL DISTRICT OF CALIFORNIA
                      12
                      13   PLEASE GIMME MY PUBLISHING,              No. 2:19-cv-________________
                      14   INC., a New York corporation; WEST
                           BRANDS, LLC, a Delaware limited          DECLARATION OF THOMAS
                      15   liability corporation; KANYE WEST, an    FOLEY IN SUPPORT OF
                           individual; and YE WORLD                 DEFENDANTS’ NOTICE OF
                      16   PUBLISHING, INC., a Delaware             REMOVAL
                           corporation, also doing business as YE
                      17   WORLD MUSIC,
                      18
                                      Plaintiffs,
                      19
                                v.
                      20
                           EMI APRIL MUSIC INC., a Connecticut
                      21   corporation; EMI BLACKWOOD
                           MUSIC INC., a Connecticut corporation;
                      22   and DOES 1-10,
                      23
                                      Defendants.
                      24
                      25
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                      27
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M ANATT , P HELPS &
  P HILLIPS , LLP
  ATTO RNEY S AT LAW
                                                                              DECLARATION OF THOMAS FOLEY
     LOS A NG EL ES
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                                                                          OF CALIFORNIA
                                                                             CIVIL COVER SHEET
I. (a) PLAINTIFFS ( Check box if you are representing yourself                     )        DEFENDANTS                 ( Check box if you are representing yourself                  )
PLEASE GIMME MY PUBLISHING, INC.; WEST BRANDS, LLC; KANYE WEST; and YE
                                                                                             EMI APRIL MUSIC INC. and EMI BLACKWOOD MUSIC INC.
WORLD PUBLISHING, INC.

(b) County of Residence of First Listed Plaintiff Los Angeles                               County of Residence of First Listed Defendant New York, New York
(EXCEPT IN U.S. PLAINTIFF CASES)                                                            (IN U.S. PLAINTIFF CASES ONLY)

(c) Attorneys (Firm Name, Address and Telephone Number) If you are                          Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.                                        representing yourself, provide the same information.
Quinn Emanuel Urquhart & Sullivan, LLP                                                       Manatt, Phelps & Phillips, LLP
865 South Figueroa Street, 10th Floor                                                        11355 West Olympic Boulevard
Los Angeles, California 90017                                                                Los Angeles, California 90064
Tel.: (213) 443-3000                                                                         Tel.: (310) 312-4000
II. BASIS OF JURISDICTION (Place an X in one box only.)                             III. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                         (Place an X in one box for plaintiff and one for defendant)
                                                                                                                 PTF        DEF                                            PTF       DEF
    1. U.S. Government                  3. Federal Question (U.S.                                                      1          1   Incorporated or Principal Place            4         4
                                                                                    Citizen of This State
    Plaintiff                           Government Not a Party)                                                                       of Business in this State
                                                                                    Citizen of Another State           2          2   Incorporated and Principal Place           5         5
                                                                                                                                      of Business in Another State
    2. U.S. Government                  4. Diversity (Indicate Citizenship          Citizen or Subject of a
                                                                                    Foreign Country                    3          3 Foreign Nation                               6         6
    Defendant                           of Parties in Item III)

IV. ORIGIN (Place an X in one box only.)
                                                                                                                                             6. Multidistrict        8. Multidistrict
     1. Original         2. Removed from            3. Remanded from         4. Reinstated or         5. Transferred from Another               Litigation -            Litigation -
       Proceeding           State Court                Appellate Court          Reopened                 District (Specify)                     Transfer                Direct File


V. REQUESTED IN COMPLAINT: JURY DEMAND:                                   Yes          No       (Check "Yes" only if demanded in complaint.)
CLASS ACTION under F.R.Cv.P. 23:                        Yes         No                        MONEY DEMANDED IN COMPLAINT: $ > $75,000
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause.          Do not cite jurisdictional statutes unless diversity.)
The Court is vested with diversity jurisdiction pursuant to 28 U.S.C. § 1332 because complete diversity of citizenship exists and the amount in controversy exceeds $75,000.
Plaintiff's unjust enrichment and constructive trust claims are preempted under 17 U.S.C. § 101 et. seq. Plaintiff also states a claim for declaratory relief.

VII. NATURE OF SUIT (Place an X in one box only).
     OTHER STATUTES                  CONTRACT             REAL PROPERTY CONT.               IMMIGRATION                    PRISONER PETITIONS                   PROPERTY RIGHTS
    375 False Claims Act           110 Insurance               240 Torts to Land            462 Naturalization               Habeas Corpus:                820 Copyrights
                                                                                            Application
                                   120 Marine                   245 Tort Product                                            463 Alien Detainee             830 Patent
    376 Qui Tam                                                 Liability                 465 Other                         510 Motions to Vacate
    (31 USC 3729(a))                                            290 All Other Real                                          Sentence                       835 Patent - Abbreviated
                                   130 Miller Act                                         Immigration Actions
    400 State                                                   Property                      TORTS                         530 General                    New Drug Application
                                    140 Negotiable
    Reapportionment                 Instrument                      TORTS               PERSONAL PROPERTY                   535 Death Penalty              840 Trademark
    410 Antitrust                   150 Recovery of           PERSONAL INJURY                                                                                 SOCIAL SECURITY
                                                                                          370 Other Fraud                         Other:
    430 Banks and Banking           Overpayment &              310 Airplane                                                                                861 HIA (1395ff)
                                    Enforcement of                                          371 Truth in Lending            540 Mandamus/Other
    450 Commerce/ICC                                           315 Airplane
                                    Judgment                   Product Liability                                            550 Civil Rights               862 Black Lung (923)
    Rates/Etc.                                                                              380 Other Personal
                                    151 Medicare Act           320 Assault, Libel &         Property Damage                 555 Prison Condition           863 DIWC/DIWW (405 (g))
    460 Deportation                                            Slander
    470 Racketeer Influ-            152 Recovery of                                         385 Property Damage             560 Civil Detainee             864 SSID Title XVI
                                                               330 Fed. Employers'          Product Liability               Conditions of
    enced & Corrupt Org.            Defaulted Student          Liability
                                    Loan (Excl. Vet.)                                                                       Confinement                    865 RSI (405 (g))
    480 Consumer Credit                                                                      BANKRUPTCY
                                                               340 Marine                                              FORFEITURE/PENALTY
    490 Cable/Sat TV               153 Recovery of                                          422 Appeal 28                                                       FEDERAL TAX SUITS
                                                               345 Marine Product           USC 158
                                   Overpayment of              Liability                                                625 Drug Related                   870 Taxes (U.S. Plaintiff or
    850 Securities/Com-            Vet. Benefits                                            423 Withdrawal 28           Seizure of Property 21             Defendant)
    modities/Exchange                                          350 Motor Vehicle            USC 157                     USC 881
                                   160 Stockholders'                                                                                                       871 IRS-Third Party 26 USC
    890 Other Statutory            Suits                       355 Motor Vehicle             CIVIL RIGHTS                690 Other                         7609
    Actions                                                    Product Liability
                                    190 Other                                               440 Other Civil Rights                LABOR
    891 Agricultural Acts                                      360 Other Personal
                                    Contract                   Injury                       441 Voting                     710 Fair Labor Standards
    893 Environmental                                                                                                      Act
    Matters                        195 Contract                362 Personal Injury-
                                   Product Liability           Med Malpratice               442 Employment                 720 Labor/Mgmt.
    895 Freedom of Info.                                       365 Personal Injury-         443 Housing/                   Relations
    Act                            196 Franchise                                            Accommodations
                                                               Product Liability                                           740 Railway Labor Act
    896 Arbitration                REAL PROPERTY                                            445 American with
                                                               367 Health Care/                                            751 Family and Medical
                                   210 Land                    Pharmaceutical               Disabilities-
    899 Admin. Procedures                                                                   Employment                     Leave Act
                                   Condemnation                Personal Injury
    Act/Review of Appeal of                                    Product Liability            446 American with              790 Other Labor
    Agency Decision                220 Foreclosure
                                                                                            Disabilities-Other             Litigation
                                                               368 Asbestos
    950 Constitutionality of       230 Rent Lease &            Personal Injury                                             791 Employee Ret. Inc.
                                                                                            448 Education
    State Statutes                 Ejectment                   Product Liability                                           Security Act

FOR OFFICE USE ONLY:                     Case Number:
CV-71 (05/17)                                                                   CIVIL COVER SHEET                                                                        Page 1 of 3
            Case 2:19-cv-01527-MRW    Document
                            UNITED STATES DISTRICT 1-2 Filed
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                                                                           OF CALIFORNIA
                                                                                 CIVIL COVER SHEET

VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.
QUESTION A: Was this case removed
from state court?                                                   STATE CASE WAS PENDING IN THE COUNTY OF:                                     INITIAL DIVISION IN CACD IS:
                    Yes         No
                                                         Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                                            Western
If "no, " skip to Question B. If "yes," check the
box to the right that applies, enter the                 Orange                                                                                             Southern
corresponding division in response to
Question E, below, and continue from there.              Riverside or San Bernardino                                                                         Eastern



QUESTION B: Is the United States, or B.1. Do 50% or more of the defendants who reside in                             YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a  the district reside in Orange Co.?                                              Enter "Southern" in response to Question E, below, and continue
PLAINTIFF in this action?                                                                                            from there.
                                                    check one of the boxes to the right
                    Yes         No
                                                                                                                     NO. Continue to Question B.2.

                                                    B.2. Do 50% or more of the defendants who reside in              YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question C. If "yes," answer      the district reside in Riverside and/or San Bernardino           Enter "Eastern" in response to Question E, below, and continue
Question B.1, at right.                             Counties? (Consider the two counties together.)                  from there.

                                                    check one of the boxes to the right                              NO. Your case will initially be assigned to the Western Division.
                                                                                                                     Enter "Western" in response to Question E, below, and continue
                                                                                                                     from there.

QUESTION C: Is the United States, or C.1. Do 50% or more of the plaintiffs who reside in the                         YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a  district reside in Orange Co.?                                                  Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action?                                                                                            from there.
                                                    check one of the boxes to the right
                    Yes         No
                                                                                                                     NO. Continue to Question C.2.

                                                    C.2. Do 50% or more of the plaintiffs who reside in the          YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question D. If "yes," answer      district reside in Riverside and/or San Bernardino               Enter "Eastern" in response to Question E, below, and continue
Question C.1, at right.                             Counties? (Consider the two counties together.)                  from there.

                                                    check one of the boxes to the right                              NO. Your case will initially be assigned to the Western Division.
                                                                                                                     Enter "Western" in response to Question E, below, and continue
                                                                                                                     from there.
                                                                                                                A.                         B.                             C.
                                                                                                                                    Riverside or San            Los Angeles, Ventura,
QUESTION D: Location of plaintiffs and defendants?                                                    Orange County                Bernardino County            Santa Barbara, or San
                                                                                                                                                                 Luis Obispo County
Indicate the location(s) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices
apply.)

                D.1. Is there at least one answer in Column A?                                                 D.2. Is there at least one answer in Column B?
                                        Yes              No                                                                           Yes            No
                    If "yes," your case will initially be assigned to the                                         If "yes," your case will initially be assigned to the
                                 SOUTHERN DIVISION.                                                                             EASTERN DIVISION.
     Enter "Southern" in response to Question E, below, and continue from there.                                  Enter "Eastern" in response to Question E, below.
                          If "no," go to question D2 to the right.                                           If "no," your case will be assigned to the WESTERN DIVISION.
                                                                                                                 Enter "Western" in response to Question E, below.


QUESTION E: Initial Division?                                                                                               INITIAL DIVISION IN CACD

Enter the initial division determined by Question A, B, C, or D above:                                                                WESTERN

QUESTION F: Northern Counties?
Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                                    Yes              No
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                            UNITED STATES DISTRICT 1-2 Filed
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                                                                           OF CALIFORNIA
                                                                             CIVIL COVER SHEET

IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                         NO                  YES

        If yes, list case number(s):

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?
                                                                                                                                                     NO                  YES
        If yes, list case number(s):


        Civil cases are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or
                    C. For other reasons would entail substantial duplication of labor if heard by different judges.

        Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.



        A civil forfeiture case and a criminal case are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or
                    C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
                    labor if heard by different judges.


X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT): /s/ Robert A. Jacobs                                                                                DATE: March 1, 2019

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code       Abbreviation                    Substantive Statement of Cause of Action
                                                   All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
        861                       HIA              include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                   (42 U.S.C. 1935FF(b))

        862                       BL               All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
                                                   923)

        863                       DIWC             All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
                                                   all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

        863                       DIWW             All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
                                                   amended. (42 U.S.C. 405 (g))


        864                       SSID             All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
                                                   amended.

        865                       RSI              All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                   (42 U.S.C. 405 (g))




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Case 2:19-cv-01527-MRW Document 1-2 Filed 03/01/19 Page 183 of 192 Page ID #:251
              Case 2:19-cv-01527-MRW Document 1-2 Filed 03/01/19 Page 184 of 192 Page ID #:252



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                       5   Los Angeles, California 90064-1614
                       6   Telephone: (310) 312-4000
                           Facsimile: (310) 312-4224
                       7
                           Attorneys for Defendants
                       8   EMI APRIL MUSIC INC. and
                           EMI BLACKWOOD MUSIC INC.
                       9
                      10                        UNITED STATES DISTRICT COURT
                      11                      CENTRAL DISTRICT OF CALIFORNIA
                      12
                      13   PLEASE GIMME MY PUBLISHING,              No. 2:19-cv-________________
                      14   INC., a New York corporation; WEST
                           BRANDS, LLC, a Delaware limited          DEFENDANTS EMI APRIL MUSIC
                      15   liability corporation; KANYE WEST, an    INC.’S AND EMI BLACKWOOD
                           individual; and YE WORLD                 MUSIC INC.’S CORPORATE
                      16   PUBLISHING, INC., a Delaware             DISCLOSURE STATEMENT AND
                           corporation, also doing business as YE   CERTIFICATE OF INTERESTED
                      17   WORLD MUSIC,                             PARTIES
                      18
                                      Plaintiffs,
                      19
                                v.
                      20
                           EMI APRIL MUSIC INC., a Connecticut
                      21   corporation; EMI BLACKWOOD
                           MUSIC INC., a Connecticut corporation;
                      22   and DOES 1-10,
                      23
                                      Defendants.
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M ANATT , P HELPS &                                                                  DEFENDANTS’ CORPORATE
  P HILLIPS , LLP
  ATTO RNEY S AT LAW
                                                                                  DISCLOSURE STATEMENT AND
     LOS A NG EL ES                                                        CERTIFICATE OF INTERESTED PARTIES
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                       1            Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and Rule 7.1-1
                       2   of the Local Rules of the Central District of California, the undersigned, counsel of
                       3   record for Defendants EMI April Music Inc. (“EMI April”) and EMI Blackwood
                       4   Music Inc. (“EMI Blackwood”) (collectively, “Defendants”), certifies that the
                       5   following listed parties may have a pecuniary interest in the outcome of this case.
                       6   These representations are made to enable the Court to evaluate possible
                       7   disqualification or recusal:
                       8            1.    Plaintiff Kanye West;
                       9            2.    Plaintiff West Brands, LLC; 1
                      10            3.    Defendant EMI April; and
                      11            4.    Defendant EMI Blackwood.
                      12            EMI April is a wholly-owned, indirect subsidiary of Sony Corporation, a
                      13   publicly traded company organized under the laws of Japan. No publicly traded
                      14   company other than Sony Corporation owns more than 10% of the stock of EMI
                      15   April.
                      16            EMI Blackwood is a wholly-owned, indirect subsidiary of Sony Corporation,
                      17   a publicly traded company organized under the laws of Japan. No publicly traded
                      18   company other than Sony Corporation owns more than 10% of the stock of EMI
                      19   Blackwood.
                      20   Dated: March 1, 2019                       MANATT, PHELPS & PHILLIPS, LLP
                      21                                              By: /s/ Robert A. Jacobs
                                                                         Robert A. Jacobs
                      22                                                 Maura K. Gierl
                                                                         Molly K. Wyler
                      23
                                                                          Attorneys for Defendants
                      24                                                  EMI APRIL MUSIC INC. and EMI
                                                                          BLACKWOOD MUSIC INC.
                      25
                      26
                      27   1
                            Although Please Gimme My Publishing, Inc. and Ye World Publishing, Inc. also
                           are named plaintiffs, they are no longer extant companies and thus have no
                      28   pecuniary interest in the outcome of this case.
M ANATT , P HELPS &                                                                        DEFENDANTS’ CORPORATE
  P HILLIPS , LLP
  ATTO RNEY S AT LAW
                                                                                        DISCLOSURE STATEMENT AND
     LOS A NG EL ES                                                              CERTIFICATE OF INTERESTED PARTIES
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                           Attorneys for Defendants
                       8   EMI APRIL MUSIC INC. and
                           EMI BLACKWOOD MUSIC INC.
                       9
                      10                        UNITED STATES DISTRICT COURT
                      11                      CENTRAL DISTRICT OF CALIFORNIA
                      12
                      13   PLEASE GIMME MY PUBLISHING,              No. 2:19-cv-________________
                      14   INC., a New York corporation; WEST
                           BRANDS, LLC, a Delaware limited          NOTICE TO ADVERSE PARTIES
                      15   liability corporation; KANYE WEST, an
                           individual; and YE WORLD
                      16   PUBLISHING, INC., a Delaware
                           corporation, also doing business as YE
                      17   WORLD MUSIC,
                      18
                                      Plaintiffs,
                      19
                                v.
                      20
                           EMI APRIL MUSIC INC., a Connecticut
                      21   corporation; EMI BLACKWOOD
                           MUSIC INC., a Connecticut corporation;
                      22   and DOES 1-10,
                      23
                                      Defendants.
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M ANATT , P HELPS &
  P HILLIPS , LLP
  ATTO RNEY S AT LAW
                                                                                 NOTICE TO ADVERSE PARTIES
     LOS A NG EL ES
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                       1         TO PLAINTIFFS AND THEIR ATTORNEYS OF RECORD: PLEASE
                       2   TAKE NOTICE that Defendants EMI April Music Inc. and EMI Blackwood
                       3   Music Inc. have filed in the United States District Court for the Central District of
                       4   California their Notice of Removal of Civil Action to the United States District
                       5   Court, a copy of which is concurrently served upon you.
                       6         PLEASE TAKE FURTHER NOTICE that a copy of the Notice of
                       7   Removal is being filed with the Clerk of the Superior Court of the State of
                       8   California, in and for the County of Los Angeles, 111 North Hill Street, Los
                       9   Angeles, California 90012.
                      10   Dated: March 1, 2019                      MANATT, PHELPS & PHILLIPS, LLP
                      11                                             By: /s/ Robert A. Jacobs
                                                                        Robert A. Jacobs
                      12                                                Maura K. Gierl
                                                                        Molly K. Wyler
                      13
                                                                         Attorneys for Defendants
                      14                                                 EMI APRIL MUSIC INC. and EMI
                                                                         BLACKWOOD MUSIC INC.
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M ANATT , P HELPS &
  P HILLIPS , LLP
  ATTO RNEY S AT LAW
                                                                                        NOTICE TO ADVERSE PARTIES
     LOS A NG EL ES
Case 2:19-cv-01527-MRW Document 1-2 Filed 03/01/19 Page 190 of 192 Page ID #:258
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              Case 2:19-cv-01527-MRW Document 1-2 Filed 03/01/19 Page 192 of 192 Page ID #:260



                       1                                         PROOF OF SERVICE

                       2                   I, Erica L. Nash, declare as follows:
                       3                  I am employed in Los Angeles County, Los Angeles, California. I am over the age
                           of eighteen years and not a party to this action. My business address is MANATT, PHELPS &
                       4   PHILLIPS, LLP, 11355 West Olympic Boulevard, Los Angeles, California 90064-1614. On
                           March 1, 2019, I served the within:
                       5
                           NOTICE TO STATE COURT AND TO ADVERSE PARTIES OF REMOVAL
                       6
                           on the interested parties in this action addressed as follows:
                       7
                                    John B. Quinn, Esq.                       Rukayatu Tijani, Esq.
                       8            Robert M. Schwartz, Esq.                  QUINN EMANUEL URQUHART &
                                    Aaron Perahia, Esq.                       SULLIVAN, LLP
                       9
                                    QUINN EMANUEL URQUHART &                  555 Twin Dolphin Drive, 5th Floor
                      10            SULLIVAN, LLP                             Redwood Shores, California 94065
                                    865 South Figueroa Street, 10th Floor     rukayatutijani@quinnemanuel.com
                      11            Los Angeles, California 90017
                                    johnquinn@quinnemanuel.com                Attorneys For Plaintiffs
                      12            robertschwartz@quinnemanuel.com           Please Gimme My Publishing, Inc.,
                                    aaronperahia@quinnemanuel.com             West Brands, LLC, Kanye West, and
                      13
                                                                              Ye World Publishing, Inc.
                      14            Attorneys For Plaintiffs
                                    Please Gimme My Publishing, Inc.,
                      15            West Brands, LLC, Kanye West, and
                                    Ye World Publishing, Inc.
                      16

                      17                   (BY OVERNIGHT MAIL) By placing such document(s) in a sealed envelope,
                      18
                                  :       for collection and overnight mailing at Manatt, Phelps & Phillips, LLP, Los
                                           Angeles, California following ordinary business practice. I am readily familiar
                      19                   with the practice at Manatt, Phelps & Phillips, LLP for collection and processing
                                           of overnight service mailing, said practice being that in the ordinary course of
                      20                   business, correspondence is deposited with the overnight messenger service,
                                           Federal Express, for delivery as addressed.
                      21

                      22                   I declare under penalty of perjury under the laws of the State of California that the
                           foregoing is true and correct and that this declaration was executed on March 1, 2019, at Los
                      23   Angeles, California.
                      24

                      25                                                                    /s/ Erica Nash
                                                                                            Erica Nash
                      26

                      27

                      28
M ANATT , P HELPS &        322750560.1
  P HILLIPS , LLP
  ATTO RNEY S AT LAW                                                                                         PROOF OF SERVICE
     LOS A NG EL ES
